          Case: 22-2002     Document: 1-2    Page: 1   Filed: 07/12/2022




             UNITED STATES COURT OF FEDERAL CLAIMS

                                         )
GIESECKE & DEVRIENT GMBH,                )
                                         )
             Plaintiff                   )
                                         )
vs.                                      )
                                         )
THE UNITED STATES,                       )
                                         ) Case No. 1:17-cv-01812-RTH
             Defendant,                  )
                                         )
IDEMIA IDENTITY                          )
& SECURITY USA, LLC,                     ) NOTICE OF APPEAL
                                         )
             Third-Party Defendant,      )
                                         )
GEMALTO, INC.,                           )
                                         )
             Third-Party Defendant,      )
                                         )
HID GLOBAL CORP.,                        )
                                         )
             Defendant.                  )


                             NOTICE OF APPEAL

      Notice is hereby given pursuant to 28 U.S.C. § 1295(a)(3) and FED. R. APP.

P. 4(a)(1) that HID Global Corp. appeals to the United States Court of Appeals for

the Federal Circuit from the United States Court of Federal Claims Opinion and

Order of June 6, 2022, for which attorneys’ fees were denied, and Opinion and

Order of October 14, 2020, for which HID’s entitlement to attorneys’ fees pursuant

to § 285 was vacated. HID Global Corp. also appeals any and all of the decisions


                                        1
          Case: 22-2002     Document: 1-2    Page: 2   Filed: 07/12/2022




of this Court underlying and leading to the foregoing Opinions and Orders.


Dated: July 7, 2022                   Respectfully submitted,


                                      /s/ Lionel M. Lavenue
                                      Lionel M. Lavenue
                                      FINNEGAN, HENDERSON, FARABOW,
                                      GARRETT & DUNNER, LLP
                                      1875 Explorer Street, Suite 800
                                      Reston, VA 20190-6023
                                      Lionel.lavenue@finnegan.com
                                      Attorney for HID Global Corp.




                                        2
           Case: 22-2002      Document: 1-2   Page: 3    Filed: 07/12/2022




                           CERTIFICATE OF SERVICE

      In accordance with 28 U.S.C. § 1295(a)(3) and FED. R. APP. P. 4(a)(1), the

undersigned hereby certifies that on July 7, 2022, a true and correct copy of the

NOTICE OF APPEAL was filed electronically with the Clerk of Court for the

Court of Federal Claims using the CM/ECF system, which will send a notification

of such filing (“NEF”) to all counsel of record who have appeared in this case on

behalf of the identified parties.

      In accordance with 28 U.S.C. § 1295(a)(3) and FED. R. APP. P. 4(a)(1), the

undersigned hereby certifies that on July 7, 2022, a true and correct copy of the

foregoing NOTICE OF APPEAL was filed electronically with the Clerk’s Office

of the United States Court of Appeals for the Federal Circuit via CM/ECF.

                                       /s/ Lionel M. Lavenue
                                       Lionel M. Lavenue
                                       FINNEGAN, HENDERSON, FARABOW,
                                       GARRETT & DUNNER, LLP
                                       1875 Explorer Street, Suite 800
                                       Reston, VA 20190-6023
                                       Attorney for HID Global Corp.




                                          3
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                             Case: 22-2002         Document: 1-2    Page: 4      Filed: 07/12/2022

                                                                          APPEAL,ECF,MOTIONSTAYED,PROTO

                                         US Court of Federal Claims
                                United States Court of Federal Claims (COFC)
                              CIVIL DOCKET FOR CASE #: 1:17-cv-01812-RTH
                                              Internal Use Only


          GIESECKE & DEVRIENT GMBH v. USA                                  Date Filed: 11/17/2017
          Assigned to: Judge Ryan T. Holte                                 Jury Demand: None
          Cause: 28:1491 Tucker Act                                        Nature of Suit: 508 Patent
                                                                           Jurisdiction: U.S. Government
                                                                           Defendant
          Plaintiff
          GIESECKE & DEVRIENT GMBH                          represented by John G. Flaim
                                                                           Baker & McKenzie LLP
                                                                           TX
                                                                           1900 North Pearl Street
                                                                           Suite 1500
                                                                           Dallas, TX 75201
                                                                           214-978-3000
                                                                           Email: john.flaim@bakermckenzie.com
                                                                           LEAD ATTORNEY
                                                                           ATTORNEY TO BE NOTICED

                                                                           Jay Forrest Utley
                                                                           Baker & McKenzie, LLP (Dallas)
                                                                           2001 Ross Avenue
                                                                           2300 Trammell Crow Center
                                                                           Dallas, TX 75201
                                                                           (214) 978-3000
                                                                           Email: jay.utley@bakermckenzie.com
                                                                           TERMINATED: 03/30/2021
                                                                           ATTORNEY TO BE NOTICED


          V.
          Defendant
          USA                                               represented by Michel Elias Souaya
                                                                           U.S. Department of Justice - Civil
                                                                           Division (G)
                                                                           Post Office Box 480
                                                                           Ben Franklin Station
                                                                           Washington, DC 20044
                                                                           (202) 307-0334


1 of 33                                                                                                             7/8/2022, 9:06 AM
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                             Case: 22-2002         Document: 1-2    Page: 5      Filed: 07/12/2022

                                                                           Fax: (202) 307-0345
                                                                           Email: michel.e.souaya@usdoj.gov
                                                                           LEAD ATTORNEY
                                                                           ATTORNEY TO BE NOTICED

                                                                           Philip Charles Sternhell
                                                                           DOJ-Civ
                                                                           Department of Justice
                                                                           Civil Division, Commercial Litigation
                                                                           Branch
                                                                           1100 L Street NW, Ste 8502
                                                                           Washington, DC 20005
                                                                           202-353-0522
                                                                           Email: philip.c.sternhell@usdoj.gov
                                                                           TERMINATED: 09/07/2021


          V.
          Intervenor Defendant
          CSRA, INC.                                        represented by Holmes J. Hawkins , lll
          TERMINATED: 10/28/2021                                           King & Spalding, LLP
                                                                           1180 Peachtree Street, N.E.
                                                                           Atlanta, GA 30309
                                                                           (404) 572-4600
                                                                           Email: hhawkins@kslaw.com
                                                                           TERMINATED: 10/28/2021
                                                                           LEAD ATTORNEY

          Intervenor Defendant
          GEMALTO, INC.                                     represented by Edward David Johnson
                                                                           Mayer Brown LLP
                                                                           2 Palo Alto Square
                                                                           Suite 300
                                                                           3000 El Camino Real
                                                                           Palo Alto, CA 94306
                                                                           (650) 331-2057
                                                                           Email: wjohnson@mayerbrown.com
                                                                           LEAD ATTORNEY
                                                                           ATTORNEY TO BE NOTICED

                                                                           Barry Clayton McCraw
                                                                           Mayer Brown, LLP (NY)
                                                                           1221 Avenue of the Americas
                                                                           New York, NY 10020
                                                                           (212) 506-2649
                                                                           Email: cmccraw@mayerbrown.com
                                                                           TERMINATED: 02/26/2019


2 of 33                                                                                                             7/8/2022, 9:06 AM
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                             Case: 22-2002         Document: 1-2    Page: 6      Filed: 07/12/2022

                                                                           ATTORNEY TO BE NOTICED

                                                                           Marcia G. Madsen
                                                                           Mayer Brown, LLP (DC)
                                                                           1999 K Street, N.W.
                                                                           Washington, DC 20006-1101
                                                                           (202) 263-3274
                                                                           Fax: (202) 263-5274
                                                                           Email: mgmadsen@mayerbrown.com
                                                                           TERMINATED: 05/08/2019
                                                                           ATTORNEY TO BE NOTICED

                                                                           Michael A. Molano
                                                                           Mayer Brown LLP
                                                                           2 Palo Alto Square
                                                                           Suite 300
                                                                           3000 El Camino Real
                                                                           Palo Alto, CA 94306
                                                                           (650) 331-2035
                                                                           Email: mmolano@mayerbrown.com
                                                                           TERMINATED: 02/26/2019
                                                                           ATTORNEY TO BE NOTICED

          ThirdParty Defendant
          UNISYS CORPORATION                                represented by Goutam Patnaik
          TERMINATED: 10/18/2019                                           Desmarais LLP
                                                                           230 Park Avenue
                                                                           New York, NY 20006-1865
                                                                           212-351-3400
                                                                           Fax: 212-351-3401
                                                                           Email: GPatnaik@desmaraisllp.com
                                                                           LEAD ATTORNEY

          ThirdParty Defendant
          IDEMIA IDENTITY & SECURITY                        represented by Richard Louis Brophy
          USA, LLC                                                         Armstrong Teasdale, LLP (St. Louis)
                                                                           7700 Forsyth Boulevard
                                                                           Suite 1800
                                                                           St. Louis, MO 63105
                                                                           (314) 621-5070
                                                                           Fax: (314) 621-5065
                                                                           Email: rbrophy@atllp.com
                                                                           LEAD ATTORNEY
                                                                           ATTORNEY TO BE NOTICED

          ThirdParty Defendant




3 of 33                                                                                                             7/8/2022, 9:06 AM
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                             Case: 22-2002         Document: 1-2    Page: 7      Filed: 07/12/2022

          GENERAL DYNAMICS                                  represented by Holmes J. Hawkins , lll
          INFORMATION TECHNOLOGY,                                          (See above for address)
          INC.                                                             TERMINATED: 12/15/2021
          TERMINATED: 12/15/2021                                           LEAD ATTORNEY


          Date Filed             #        Docket Text
          11/17/2017                  1 COMPLAINT against USA (VAR) (Filing fee $400, Receipt number
                                        9998-4319906) (Copy Served Electronically on Department of Justice),
                                        filed by GIESECKE & DEVRIENT GMBH.Answer due by 1/16/2018.
                                        (Attachments: # 1 Civil Cover Sheet)(ac7) ( # 2 Exhibit) (ac7). (Entered:
                                        11/20/2017)
          11/17/2017                  2 Rule 7.1 Disclosure Statement, filed by GIESECKE & DEVRIENT
                                        GMBH. (ac7) (Entered: 11/20/2017)
          01/12/2018                  3 NOTICE of Appearance by Michel Elias Souaya for USA . (Souaya,
                                        Michel) (Entered: 01/12/2018)
          01/16/2018                  4 First MOTION for Extension of Time until 3/16/2018 to File Answer re 1
                                        Complaint, , filed by USA.Response due by 1/30/2018.(Souaya, Michel)
                                        (Entered: 01/16/2018)
          01/16/2018                  5 ORDER granting 4 Motion for Extension of Time to Answer,Response
                                        to the Complaint due by 3/16/2018. Signed by Judge Mary Ellen Coster
                                        Williams. (zp) Service on parties made. (Entered: 01/16/2018)
          02/16/2018                  6 NOTICE of Appearance by Philip Charles Sternhell for USA . (Sternhell,
                                        Philip) (Entered: 02/16/2018)
          03/16/2018                  7 First MOTION to Notify Interested Party see attached motion for parties
                                        to be noticed , filed by USA.Response due by 3/30/2018. (Attachments:
                                        # 1 Exhibit Ex. A, # 2 Exhibit Ex. B, # 3 Exhibit Ex. C, # 4 Exhibit Ex.
                                        D, # 5 Exhibit Ex. E, # 6 Exhibit Ex. F, # 7 Exhibit Ex. G, # 8 Exhibit Ex.
                                        H, # 9 Exhibit Ex. I, # 10 Exhibit Ex. J, # 11 Exhibit Ex. K, # 12 Exhibit
                                        Ex. L, # 13 Exhibit Ex. M, # 14 Exhibit Ex. N, # 15 Exhibit Ex. O, # 16
                                        Exhibit Ex. P)(Sternhell, Philip) Modified on 4/30/2018 to seal exhibits
                                        M-N at filer's request (ar). (Entered: 03/16/2018)
          03/16/2018                  8 ANSWER to 1 Complaint, , filed by USA.JPSR due by 5/4/2018.
                                        (Sternhell, Philip) (Entered: 03/16/2018)
          03/29/2018                  9 NOTICE of Change of Address by Jay Forrest Utley (Utley, Jay)
                                        (Entered: 03/29/2018)
          04/02/2018                 10 ORDER granting 7 Motion to Notify Interested Parties. Signed by Judge
                                        Mary Ellen Coster Williams. (nm) Service on parties made. (Entered:
                                        04/02/2018)
          04/04/2018                 11 NOTICE to Third Parties pursuant to Rule 14(b)(1) forwarded to
                                        Defendant's attorney for service this day. (ac7) (Entered: 04/04/2018)


4 of 33                                                                                                             7/8/2022, 9:06 AM
CM/ECF Live System, USCFC, District Version NextGen 1.6.3           https://cofc-ecf.sso.dcn/cgi-bin/DktRpt.pl?129742961132609-L_1_0-1
                             Case: 22-2002         Document: 1-2   Page: 8       Filed: 07/12/2022

          04/06/2018                 12 Rule 7.1 Disclosure Statement First Supplemental Disclosure Statement,
                                        filed by GIESECKE & DEVRIENT GMBH. (Utley, Jay) (Entered:
                                        04/06/2018)
          04/06/2018                 13 AMENDED COMPLAINT against USA, filed by GIESECKE &
                                        DEVRIENT GMBH. First Amended Complaint, filed by GIESECKE &
                                        DEVRIENT GMBH.Answer due by 4/20/2018. (Attachments: # 1
                                        Exhibit A)(Utley, Jay) (Entered: 04/06/2018)
          04/20/2018                 14 ANSWER to 13 Amended Complaint , filed by USA.JPSR due by
                                        6/8/2018.(Sternhell, Philip) (Entered: 04/20/2018)
          04/25/2018                 15 Return of Service Executed, filed by USA showing service by Certified
                                        Mail of Notice/Summons on Multiple Parties, on Various Dates.
                                        (Attachments: # 1 Exhibit)(Sternhell, Philip) (Entered: 04/25/2018)
          05/01/2018                 16 Unopposed MOTION to Seal Document Exhibits J, M, and N to ECF No.
                                        7, filed by USA.Response due by 5/15/2018. (Attachments: # 1 Exhibit
                                        M - Redacted, # 2 Exhibit N - Redacted, # 3 Exhibit J - Redacted)
                                        (Sternhell, Philip) (Entered: 05/01/2018)
          05/01/2018                 17 ORDER granting 16 Unopposed Motion to Seal Document Signed by
                                        Judge Mary Ellen Coster Williams. (nm) Service on parties made.
                                        (Entered: 05/01/2018)
          05/16/2018                 18 Unopposed MOTION for Extension of Time until June 20, 2018 to File
                                        Response as to 11 Notice to Third Parties - Rule 14(b)(1) , filed by
                                        CSRA, INC..Response due by 5/30/2018.(Hawkins, Holmes) (Entered:
                                        05/16/2018)
          05/16/2018                 19 Rule 7.1 Disclosure Statement , filed by CSRA, INC.. (Hawkins,
                                        Holmes) (Entered: 05/16/2018)
          05/16/2018                 20 MOTION to Intervene , filed by UNISYS CORPORATION.Response
                                        due by 5/30/2018.(Patnaik, Goutam) (Entered: 05/16/2018)
          05/16/2018                 21 Rule 7.1 Disclosure Statement , filed by UNISYS CORPORATION.
                                        (Patnaik, Goutam) (Entered: 05/16/2018)
          05/17/2018                 22 ORDER GRANTING 18 Unopposed MOTION for Extension of Time
                                        until June 20, 2018 to File Response as to 11 Notice to Third Parties -
                                        Rule 14(b)(1) filed by CSRA, INC. CSRA, Inc. shall respond to the
                                        Courts Notice by June 20, 2018 Signed by Judge Mary Ellen Coster
                                        Williams. (zp) Service on parties made. (Entered: 05/17/2018)
          05/21/2018                 23 Rule 7.1 Disclosure Statement Amended, filed by UNISYS
                                        CORPORATION. (Patnaik, Goutam) (Entered: 05/21/2018)
          05/21/2018                 24 Unopposed MOTION for Extension of Time until June 20, 2018 to
                                        Respond to Notice to Third Parties Pursuant to Rule 14(b)(1), filed by
                                        HID Global Corporation, hid global.Response due by 6/4/2018.
                                        (Lavenue, Lionel) (Entered: 05/21/2018)



5 of 33                                                                                                             7/8/2022, 9:06 AM
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                             Case: 22-2002         Document: 1-2   Page: 9      Filed: 07/12/2022

          05/21/2018                 25 Rule 7.1 Disclosure Statement , filed by HID GLOBAL
                                        CORPORATION. (Lavenue, Lionel) (Entered: 05/21/2018)
          05/21/2018                 26 RESPONSE to 11 Notice to Third Parties - Rule 14(b)(1) , filed by FCN
                                        Inc. (Welch, William) (Entered: 05/21/2018)
          05/23/2018                 27 RESPONSE to RESPONSE to 11 Notice to Third Parties - Rule 14(b)(1),
                                        filed by FCN Inc., filed by USA. (Sternhell, Philip) (Entered: 05/23/2018)
          05/25/2018                 28 Unopposed MOTION for Extension of Time until June 20, 2018 to
                                        respond to the Courts Notice pursuant to RCFC 14(b) that was served
                                        upon Idemia on April 10, 2018. ECF No. 15 , filed by Idemia Identity &
                                        Security USA LLC.Response due by 6/8/2018.(Brophy, Richard)
                                        (Entered: 05/25/2018)
          05/25/2018                 29 Rule 7.1 Disclosure Statement , filed by Idemia Identity & Security USA
                                        LLC. (Brophy, Richard) (Entered: 05/25/2018)
          05/25/2018                 30 ORDER granting 24 Motion for Extension of Time. Response due by
                                        6/20/2018. Signed by Judge Mary Ellen Coster Williams. (TF3) Service
                                        on parties made. (Entered: 05/25/2018)
          05/25/2018                 31 ORDER granting 28 Motion for Extension of Time. Response due by
                                        6/20/2018. Signed by Judge Mary Ellen Coster Williams. (TF3) Service
                                        on parties made. (Entered: 05/25/2018)
          05/30/2018                 32 Joint MOTION for Extension of Time until July 13, 2018 to Filing of the
                                        Joint Preliminary Status Report , filed by USA.Response due by
                                        6/13/2018.(Sternhell, Philip) (Entered: 05/30/2018)
          05/30/2018                 33 NOTICE, filed by GIESECKE & DEVRIENT GMBH re 20 MOTION to
                                        Intervene Plaintiff's Notice of Non-Opposition to Motion of Unisys
                                        Corporation to Intervene (Utley, Jay) (Entered: 05/30/2018)
          06/01/2018                 34 ORDER granting 32 Motion for Extension of TimeJPSR due by
                                        7/13/2018. Signed by Judge Mary Ellen Coster Williams. (zp) Service on
                                        parties made. (Entered: 06/01/2018)
          06/18/2018                 35 Second MOTION for Extension of Time until July 9, 2018 to to Respond
                                        to Rule 14 Notice [Unopposed], filed by HID GLOBAL
                                        CORPORATION.Response due by 7/2/2018.(Lavenue, Lionel) (Entered:
                                        06/18/2018)
          06/20/2018                 36 ORDER granting 35 Motion for Extension of TimeHID shall respond to
                                        the Courts Notice by July 9, 2018 Signed by Judge Mary Ellen Coster
                                        Williams. (zp) Service on parties made. (Entered: 06/20/2018)
          06/20/2018                 37 ANSWER to 13 Amended Complaint For Patent Infringement, filed by
                                        Idemia Identity & Security USA LLC.JPSR due by 8/8/2018.(Brophy,
                                        Richard) (Entered: 06/20/2018)
          06/20/2018                 38 Unopposed MOTION to Intervene , filed by CSRA, INC..Response due
                                        by 7/5/2018.(Hawkins, Holmes) (Entered: 06/20/2018)


6 of 33                                                                                                            7/8/2022, 9:06 AM
CM/ECF Live System, USCFC, District Version NextGen 1.6.3          https://cofc-ecf.sso.dcn/cgi-bin/DktRpt.pl?129742961132609-L_1_0-1
                             Case: 22-2002         Document: 1-2   Page: 10      Filed: 07/12/2022

          06/22/2018                 39 ORDER granting 38 Motion to Intervene; granting 20 Motion to
                                        InterveneUnisys is ordered to file an appropriate pleading in
                                        accordance with Rule 14 by July 20, 2018; CSRA is ordered to file an
                                        appropriate pleading in accordance with Rule 14 by July 20, 2018
                                        Signed by Judge Mary Ellen Coster Williams. (zp) Service on parties
                                        made. (Entered: 06/22/2018)
          06/22/2018                 40 ORDER re 27 Response filed by USA, 26 Response filed by FCN, INC.
                                        FCN may file an appropriate pleading in accordancewith Rule 14 by
                                        July 20, 2018. If FCN elects not to file an appropriate pleading, it will
                                        not be joined as a third party in this action. Signed by Judge Mary
                                        Ellen Coster Williams. (zp) Service on parties made. (Entered:
                                        06/22/2018)
          07/09/2018                 41 MOTION to Dismiss pursuant to Rule 12(b)(6) , filed by HID GLOBAL
                                        CORPORATION.Response due by 8/6/2018.(Lavenue, Lionel) (Entered:
                                        07/09/2018)
          07/20/2018                 42 ANSWER to 13 Amended Complaint , filed by UNISYS
                                        CORPORATION.JPSR due by 9/7/2018.(Patnaik, Goutam) (Entered:
                                        07/20/2018)
          07/20/2018                 43 ANSWER to 13 Amended Complaint , filed by CSRA, INC..JPSR due
                                        by 9/7/2018.(Hawkins, Holmes) (Entered: 07/20/2018)
          08/06/2018                 44 RESPONSE to 41 MOTION to Dismiss pursuant to Rule 12(b)(6)
                                        Plaintiff Giesecke+Devrient GmbH's Response in Opposition to HID
                                        Global Corporation's Rule 12(b)(6) Motion to Dismiss, filed by
                                        GIESECKE & DEVRIENT GMBH.Reply due by 8/20/2018. (Utley,
                                        Jay) (Entered: 08/06/2018)
          08/20/2018                 45 REPLY to Response to Motion re 41 MOTION to Dismiss pursuant to
                                        Rule 12(b)(6) , filed by HID GLOBAL CORPORATION. (Attachments:
                                        # 1 Appendix A, # 2 Appendix B)(Lavenue, Lionel) (Entered:
                                        08/20/2018)
          09/07/2018                 46 JOINT PRELIMINARY STATUS REPORT . (Utley, Jay) (Entered:
                                        09/07/2018)
          09/11/2018                 47 SCHEDULING ORDER: Scheduling Conference set for 9/27/2018 at
                                        2:30 PM E.D.T. in Chambers (Telephonic) before Senior Judge Mary
                                        Ellen Coster Williams. Signed by Senior Judge Mary Ellen Coster
                                        Williams. (TF3) Service on parties made. (Entered: 09/11/2018)
          09/12/2018                 48 SCHEDULING ORDER: Oral Argument set for 10/30/2018 at 11:00
                                        AM in National Courts Building before Senior Judge Mary Ellen
                                        Coster Williams. Signed by Senior Judge Mary Ellen Coster Williams.
                                        (TF3) Service on parties made. (Entered: 09/12/2018)
          09/27/2018                      Minute Entry - Was the proceeding sealed to the public? No. Proceeding
                                          held in Washington, DC 9/27/2018 lasting approximately 40 minutes
                                          before Senior Judge Mary Ellen Coster Williams: Telephonic Scheduling


7 of 33                                                                                                            7/8/2022, 9:06 AM
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                             Case: 22-2002         Document: 1-2    Page: 11       Filed: 07/12/2022

                                          Conference. [Total number of days of proceeding: 1]. Official Record of
                                          proceeding taken via electronic digital recording (EDR). To order a
                                          certified transcript or an audio recording of the proceeding, click
                                          HERE.(TF3) (Entered: 09/27/2018)
          10/01/2018                 49 SCHEDULING ORDER. Signed by Senior Judge Mary Ellen Coster
                                        Williams. (TF3) Service on parties made. (Entered: 10/01/2018)
          10/09/2018                 50 Notice of Filing of Certified Transcript for proceedings held on
                                        September 27, 2018 in Washington, D.C. (ac7) (Entered: 10/09/2018)
          10/09/2018                 51 TRANSCRIPT of proceedings held on September 27, 2018 before Judge
                                        Mary Ellen Coster Williams. Total No. of Pages: 1-30. Procedures Re:
                                        Electronic Transcripts and Redactions. To order a copy of the transcript,
                                        click HERE. Notice of Intent to Redact due 10/16/2018. Redacted
                                        Transcript Deadline set for 11/9/2018. Release of Transcript Restriction
                                        set for 1/7/2019. (ac7) (Entered: 10/09/2018)
          10/16/2018                 52 MOTION for Leave to File Second Amended Complaint , filed by
                                        GIESECKE & DEVRIENT GMBH.Response due by 10/30/2018.
                                        (Attachments: # 1 Exhibit 1 - Proposed Second Amended Complaint with
                                        Exhibit A, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Text of Proposed Order)
                                        (Utley, Jay) (Entered: 10/16/2018)
          10/24/2018                 53 RESPONSE to 52 MOTION for Leave to File Second Amended
                                        Complaint , filed by CSRA, INC., IDEMIA IDENTITY & SECURITY
                                        USA, LLC, UNISYS CORPORATION, USA.Reply due by 10/31/2018.
                                        (Sternhell, Philip) (Entered: 10/24/2018)
          10/24/2018                 54 RESPONSE to 52 MOTION for Leave to File Second Amended
                                        Complaint in Opposition, filed by HID GLOBAL
                                        CORPORATION.Reply due by 10/31/2018. (Attachments: # 1 Exhibit 1,
                                        # 2 Exhibit 2)(Lavenue, Lionel) (Entered: 10/24/2018)
          10/30/2018                 55 NOTICE, filed by HID GLOBAL CORPORATION Regarding
                                        Additional Information Relating to HID's communications with Plaintiff
                                        (Attachments: # 1 Exhibit 1)(Lavenue, Lionel) (Entered: 10/30/2018)
          10/31/2018                      Minute Entry - Was the proceeding sealed to the public? No. Proceeding
                                          held in Washington, DC 10/30/2018 lasting approximately one hour and
                                          15 minutes before Senior Judge Mary Ellen Coster Williams: Oral
                                          Argument. [Total number of days of proceeding: 1]. Official record of
                                          proceeding taken by court reporter. To order a certified transcript or an
                                          audio recording of the proceeding, click HERE.(TF3) (Entered:
                                          10/31/2018)
          10/31/2018                 56 REPLY to Response to Motion re 52 MOTION for Leave to File Second
                                        Amended Complaint , filed by GIESECKE & DEVRIENT GMBH.
                                        (Utley, Jay) (Entered: 10/31/2018)
          11/01/2018                 57 Notice of Filing of Certified Transcript for proceedings held on October
                                        30, 2018 in Washington, D.C. (ew) (Entered: 11/01/2018)


8 of 33                                                                                                              7/8/2022, 9:06 AM
CM/ECF Live System, USCFC, District Version NextGen 1.6.3          https://cofc-ecf.sso.dcn/cgi-bin/DktRpt.pl?129742961132609-L_1_0-1
                             Case: 22-2002         Document: 1-2   Page: 12      Filed: 07/12/2022

          11/01/2018                 58 TRANSCRIPT of proceedings held on October 30, 2018 before Senior
                                        Judge Mary Ellen Coster Williams. Total No. of Pages: 1-63. Procedures
                                        Re: Electronic Transcripts and Redactions. To order a copy of the
                                        transcript, click HERE. Notice of Intent to Redact due 11/8/2018.
                                        Redacted Transcript Deadline set for 12/3/2018. Release of Transcript
                                        Restriction set for 1/31/2019. (ew) (Entered: 11/01/2018)
          12/28/2018                 59 REPORTED OPINION denying as moot 41 Motion to Dismiss - Rule
                                        12(b)(6); granting 52 Motion for Leave to File Second Amended
                                        Complaint. Signed by Senior Judge Mary Ellen Coster Williams. (TF3)
                                        Service on parties made. (Entered: 12/28/2018)
          12/31/2018                 60 Unopposed MOTION to Stay Entire Case , filed by USA.Response due
                                        by 1/14/2019.(Sternhell, Philip) (Entered: 12/31/2018)
          01/03/2019                 61 ORDER granting 60 Motion to Stay. Signed by Senior Judge Mary Ellen
                                        Coster Williams. (TF3) Service on parties made. (Entered: 01/03/2019)
          01/28/2019                 62 MOTION to Bifurcate Issues of Entitlement to and Quantum of
                                        Attorney's Fees, filed by HID GLOBAL CORPORATION.Response due
                                        by 2/11/2019. (Attachments: # 1 Exhibit 1)(Lavenue, Lionel) Modified
                                        on 8/30/2019 to terminate pending gavel. See order dated 2/27/19 ECF 76
                                        (vds). (Entered: 01/28/2019)
          01/28/2019                 63 MOTION for Attorney Fees and Costs, filed by HID GLOBAL
                                        CORPORATION.Response due by 2/25/2019. (Attachments: # 1 Exhibit
                                        1, # 2 Exhibit 2)(Lavenue, Lionel) (Entered: 01/28/2019)
          01/29/2019                 64 Corrected MOTION to Bifurcate Issues of Entitlement to and Quantum of
                                        Attorney's Fees (Opposed), filed by HID GLOBAL
                                        CORPORATION.Response due by 2/12/2019. (Attachments: # 1 Exhibit
                                        1)(Lavenue, Lionel) (Entered: 01/29/2019)
          01/30/2019                 65 JOINT STATUS REPORT and Joint Proposed Revised Schedule, filed by
                                        USA. (Sternhell, Philip) (Entered: 01/30/2019)
          01/31/2019                 66 SCHEDULING ORDER:Defendants shall respond to Plaintiffs Second
                                        Amended Complaint by 2/28/2019. The parties shall submit their
                                        infringement contentions by 4/29/2019. The parties shall submit their
                                        invalidity contentions by 6/28/2019. The parties shall submit App. J.
                                        Rule 8 response to preliminary disclosure of invalidity contentions by
                                        7/26/2019. Plaintiff shall provide initial damages disclosures
                                        providing subject matter specified in Rule 26(a)(1)(A)(iii) of RCFC
                                        regarding computation of damages by 8/19/2019. The parties shall
                                        exchange claim terms by 9/6/2019. The parties shall exchange claim
                                        constructions and extrinsic evidence by 10/4/2019. Defendants shall
                                        provide responsive damages disclosures by 10/8/2019. The parties
                                        shall meet and confer regarding narrowing of claim terms by
                                        10/11/2019. Parties shall submit joint claim construction chart, joint
                                        claim construction appendix, prehearing statement, and information
                                        required under App. J. Rules 11 and 12 by 11/18/2019. Claim


9 of 33                                                                                                            7/8/2022, 9:06 AM
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                             Case: 22-2002         Document: 1-2   Page: 13       Filed: 07/12/2022

                                          construction discovery is complete on 1/2/2020. Plaintiff shall file its
                                          opening claim construction brief by 1/17/2020. Defendants shall file
                                          responsive claim construction briefs by 3/2/2020. Plaintiff shall file a
                                          reply claim construction brief by 3/16/2020. Fact discovery closes on
                                          6/1/2020. Opening expert reports shall be disclosed by 7/31/2020.
                                          Rebuttal expert reports shall be disclosed by 9/29/2020. Expert
                                          discovery closes on 11/30/2020. Signed by Senior Judge Mary Ellen
                                          Coster Williams. (kw) Service on parties made. (Entered: 01/31/2019)
           02/01/2019                67 Unopposed MOTION to Intervene , filed by GEMALTO, INC..Response
                                        due by 2/15/2019. (Attachments: # 1 Exhibit A - Answer to Plaintiff's
                                        Second Amended Complaint)(Madsen, Marcia) (Entered: 02/01/2019)
           02/01/2019                68 Rule 7.1 Disclosure Statement , filed by GEMALTO, INC.. (Madsen,
                                        Marcia) (Entered: 02/01/2019)
           02/05/2019                69 ORDER granting 67 Motion to Intervene Signed by Senior Judge Mary
                                        Ellen Coster Williams. (kw) Service on parties made. (Entered:
                                        02/05/2019)
           02/12/2019                70 RESPONSE to 64 Corrected MOTION to Bifurcate Issues of Entitlement
                                        to and Quantum of Attorney's Fees (Opposed) , filed by GIESECKE &
                                        DEVRIENT GMBH.Reply due by 2/19/2019. (Utley, Jay) (Entered:
                                        02/12/2019)
           02/19/2019                71 REPLY to Response to Motion re 64 Corrected MOTION to Bifurcate
                                        Issues of Entitlement to and Quantum of Attorney's Fees (Opposed) , filed
                                        by HID GLOBAL CORPORATION. (Lavenue, Lionel) (Entered:
                                        02/19/2019)
           02/25/2019                72 RESPONSE to 63 MOTION for Attorney Fees and Costs , filed by
                                        GIESECKE & DEVRIENT GMBH.Reply due by 3/4/2019. (Utley, Jay)
                                        (Entered: 02/25/2019)
           02/26/2019                73 NOTICE of Appearance by Michael A. Molano for GEMALTO, INC. .
                                        (Molano, Michael) Pursuant to Rule 83.1(c) (Entered: 02/26/2019)
           02/26/2019                74 NOTICE of Appearance by Barry Clayton McCraw for GEMALTO,
                                        INC. . (McCraw, Barry) Pursuant to Rule 83.1(c) (Entered: 02/26/2019)
           02/26/2019                75 NOTICE of Appearance by Edward David Johnson for GEMALTO, INC.
                                        . (Johnson, Edward) Pursuant to Rule 83.1(c) (Entered: 02/26/2019)
           02/27/2019                76 ORDER granting 64 Motion to Bifurcate Signed by Senior Judge Mary
                                        Ellen Coster Williams. (kw) Service on parties made. (Entered:
                                        02/27/2019)
           02/27/2019                77 MOTION to Seal Document , filed by GEMALTO, INC..Response due
                                        by 3/13/2019.(Madsen, Marcia) (Entered: 02/27/2019)
           02/27/2019                78 **SEALED** MOTION to Stay the Case Pursuant to the Federal
                                        Arbitration Act , filed by GEMALTO, INC..Response due by 3/13/2019.
                                        (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D,


10 of 33                                                                                                            7/8/2022, 9:06 AM
CM/ECF Live System, USCFC, District Version NextGen 1.6.3          https://cofc-ecf.sso.dcn/cgi-bin/DktRpt.pl?129742961132609-L_1_0-1
                             Case: 22-2002         Document: 1-2   Page: 14      Filed: 07/12/2022

                                          # 5 Exhibit E)(Madsen, Marcia) (Entered: 02/27/2019)
           02/28/2019                79 ORDER granting 77 Motion to Seal Document. Signed by Senior Judge
                                        Mary Ellen Coster Williams. (TF3) Service on parties made. (Entered:
                                        02/28/2019)
           02/28/2019                80 Unisys's ANSWER to 52 Amended Complaint , filed by UNISYS
                                        CORPORATION.JPSR due by 4/18/2019. (Patnaik, Goutam) Modified
                                        on 2/28/2019 to add link (ar). (Entered: 02/28/2019)
           02/28/2019                81 CSRA's ANSWER to 52 Amended Complaint (52-1), filed by CSRA,
                                        INC..JPSR due by 4/18/2019. (Hawkins, Holmes) Modified on 3/1/2019
                                        (ew)to add correct link. (Entered: 02/28/2019)
           02/28/2019                82 ANSWER to 52 Amended Complaint (52-1), filed by IDEMIA
                                        IDENTITY & SECURITY USA, LLC.JPSR due by 4/18/2019.(Vander
                                        Tuig, Marc) Modified on 3/1/2019 (ew)to add correct link. (Entered:
                                        02/28/2019)
           02/28/2019                83 ANSWER to 52 Amended Complaint (52-1), filed by USA.JPSR due by
                                        4/18/2019.(Sternhell, Philip) Modified on 3/1/2019 (ew) to add correct
                                        link. (Entered: 02/28/2019)
           02/28/2019                84 ANSWER to 52 Amended Complaint (52-1), filed by GEMALTO,
                                        INC..JPSR due by 4/18/2019.(Madsen, Marcia) Modified on 3/1/2019
                                        (ew) to add correct link. (Entered: 02/28/2019)
           03/11/2019                85 Unopposed MOTION for Extension of Time to File Response as to 78
                                        MOTION to Stay the Case Pursuant to the Federal Arbitration Act , filed
                                        by GIESECKE & DEVRIENT GMBH.Response due by 3/25/2019.
                                        (Utley, Jay) (Entered: 03/11/2019)
           03/11/2019                86 REPLY to Response to Motion re 63 MOTION for Attorney Fees and
                                        Costs , filed by HID GLOBAL CORPORATION. (Attachments: # 1
                                        Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit
                                        5)(Lavenue, Lionel) (Entered: 03/11/2019)
           03/13/2019                87 ORDER granting 85 Motion for Extension of Time to File Response
                                        Response due by 3/25/2019. Signed by Senior Judge Mary Ellen Coster
                                        Williams. (kw) Service on parties made. (Entered: 03/13/2019)
           03/22/2019                88 MOTION to Seal Document , filed by GIESECKE & DEVRIENT
                                        GMBH.Response due by 4/5/2019.(Utley, Jay) (Entered: 03/22/2019)
           03/25/2019                89 **SEALED**RESPONSE to 78 MOTION to Stay the Case Pursuant to
                                        the Federal Arbitration Act , filed by GIESECKE & DEVRIENT
                                        GMBH.Reply due by 4/1/2019.(Utley, Jay) (Entered: 03/25/2019)
           03/25/2019                90 MOTION for Leave to File Plaintiff's Sur-Reply in Opposition to HID
                                        Global Corporation's Motion for Attorneys' Fees and Costs , filed by
                                        GIESECKE & DEVRIENT GMBH.Response due by 4/8/2019.
                                        (Attachments: # 1 Exhibit A)(Utley, Jay) (Entered: 03/25/2019)



11 of 33                                                                                                           7/8/2022, 9:06 AM
CM/ECF Live System, USCFC, District Version NextGen 1.6.3          https://cofc-ecf.sso.dcn/cgi-bin/DktRpt.pl?129742961132609-L_1_0-1
                             Case: 22-2002         Document: 1-2   Page: 15      Filed: 07/12/2022

           03/26/2019                91 SEE 3/26/2019 ORDER 93 ORDER Plaintiffs sur-reply is accepted
                                        for filing this date. Signed by Senior Judge Mary Ellen Coster Williams.
                                        (kw) Service on parties made. (Entered: 03/26/2019)
           03/26/2019                92 Unopposed MOTION for Extension of Time until 04/15/2019 to File
                                        Reply as to 78 MOTION to Stay the Case Pursuant to the Federal
                                        Arbitration Act , filed by GEMALTO, INC..Response due by 4/9/2019.
                                        (Madsen, Marcia) (Entered: 03/26/2019)
           03/26/2019                93 ORDER Striking 91 Order. Signed by Senior Judge Mary Ellen Coster
                                        Williams. (kw) Service on parties made. (Entered: 03/26/2019)
           03/27/2019                94 ORDER granting 92 Motion for Extension of Time to File Reply Reply
                                        due by 4/15/2019. Signed by Senior Judge Mary Ellen Coster Williams.
                                        (kw) Service on parties made. (Entered: 03/27/2019)
           04/03/2019                95 NOTICE of Change of Address by Goutam Patnaik (Patnaik, Goutam)
                                        (Entered: 04/03/2019)
           04/08/2019                96 RESPONSE to 90 MOTION for Leave to File Plaintiff's Sur-Reply in
                                        Opposition to HID Global Corporation's Motion for Attorneys' Fees and
                                        Costs , filed by HID GLOBAL CORPORATION.Reply due by
                                        4/15/2019. (Lavenue, Lionel) (Entered: 04/08/2019)
           04/09/2019                97 REPLY to Response to Motion re 90 MOTION for Leave to File
                                        Plaintiff's Sur-Reply in Opposition to HID Global Corporation's Motion
                                        for Attorneys' Fees and Costs , filed by GIESECKE & DEVRIENT
                                        GMBH. (Utley, Jay) (Entered: 04/09/2019)
           04/15/2019                98 ORDER granting 90 Motion for Leave to File Sur-reply. Sur-reply due
                                        by 4/19/2019 Signed by Senior Judge Mary Ellen Coster Williams. (kw)
                                        Service on parties made. (Entered: 04/15/2019)
           04/15/2019                99 SUR-REPLY re 98 Order on Motion for Leave to File, 63 MOTION for
                                        Attorney Fees and Costs , filed by GIESECKE & DEVRIENT GMBH.
                                        (Utley, Jay) (Entered: 04/15/2019)
           04/15/2019               100 MOTION to Seal Document , filed by GEMALTO, INC..Response due
                                        by 4/29/2019.(Madsen, Marcia) (Entered: 04/15/2019)
           04/15/2019               101 **SEALED**REPLY to Response to Motion re 78 MOTION to Stay the
                                        Case Pursuant to the Federal Arbitration Act , filed by GEMALTO, INC..
                                        (Attachments: # 1 Exhibit F)(Madsen, Marcia) (Entered: 04/15/2019)
           04/16/2019               102 ORDER granting 88 Motion to Seal Document Signed by Senior Judge
                                        Mary Ellen Coster Williams. (kw) Service on parties made. (Entered:
                                        04/16/2019)
           04/16/2019               103 ORDER granting 100 Motion to Seal Document Signed by Senior Judge
                                        Mary Ellen Coster Williams. (kw) Service on parties made. (Entered:
                                        04/16/2019)




12 of 33                                                                                                           7/8/2022, 9:06 AM
CM/ECF Live System, USCFC, District Version NextGen 1.6.3            https://cofc-ecf.sso.dcn/cgi-bin/DktRpt.pl?129742961132609-L_1_0-1
                             Case: 22-2002         Document: 1-2    Page: 16       Filed: 07/12/2022

           05/08/2019               104 Consented MOTION to Substitute Attorney Edward D. Johnson in place
                                        of Marcia G. Madsen , filed by GEMALTO, INC.. (Attachments: # 1
                                        Exhibit 1 - Affidavit of Appointment, # 2 Exhibit 2 - Consent to
                                        Substitution)(Madsen, Marcia) (Entered: 05/08/2019)
           05/30/2019               105 ORDER Setting Oral Argument on Motion 63 MOTION for Attorney
                                        Fees and Costs : Motion Hearing set for 6/10/2019 10:00 AM in
                                        National Courts Building before Senior Judge Mary Ellen Coster
                                        Williams. Signed by Senior Judge Mary Ellen Coster Williams. (kw)
                                        Service on parties made. (Entered: 05/30/2019)
           06/13/2019               106 SCHEDULING ORDER: The oral argument on HID's motion for
                                        attorneys' fees scheduled for June 10, 2019, is rescheduled for July 8,
                                        2019 at 10:00 a.m. at the Court of Federal Claims, Howard T.
                                        Markey National Courts Building, 717 Madison Place, NW,
                                        Washington, DC 20439. Signed by Senior Judge Mary Ellen Coster
                                        Williams. (kw) Service on parties made. (Entered: 06/13/2019)
           06/24/2019                     IMPORTANT NOTICE: On Monday, August 26, 2019, the United
                                          States Court of Federal Claims will upgrade its current CM/ECF system
                                          to the Next Generation of CM/ECF (NextGen). Complete information
                                          regarding the NextGen implementation can be found on the court's
                                          website at http://www.uscfc.uscourts.gov. Currently, many attorneys
                                          within a firm may share a single PACER account, but once NextGen is
                                          imple mented e-filing attorneys will no longer be able to use shared
                                          PACER accounts. To access the upgraded system, each e-filing attorney
                                          must have an individual upgraded PACER account. Preparing for
                                          NextGen CM/ECF is a two-step process. Step one is to upgrade your
                                          PACER account, and step two is to link your upgraded PACER account
                                          to your current CM/ECF filing account. This notice only addresses the
                                          first step because the second step can't be completed until on or after
                                          August 26, 2019. The first step is to check and see if your PACER
                                          account is an "Upgraded" PACER account. Many PACER accounts have
                                          already been upgraded. If either of the following statements is true, you
                                          have an upgraded PACER account and no action is required until on or
                                          after August 26, 2019: 1) you currently e-file in another NextGen court or
                                          2) your PACER account was created after August 10, 2014. If neither of
                                          these statements is true, you must upgrade your PACER account.
                                          Additional notices will be sent at a later date on how to handle the second
                                          step in this process. If you still have questions please contact the PACER
                                          Service Center at 800-676-6856 or the Clerk's Office CM/ECF Help Desk
                                          at (202)357-6402.. (dh) (ADI) (Entered: 06/24/2019)
           06/27/2019               107 Joint MOTION for Extension of Time until August 27, 2019 to Serve
                                        Invalidity Contentions and Join Parties , filed by USA.Response due by
                                        7/11/2019.(Sternhell, Philip) (Entered: 06/27/2019)
           06/27/2019               108 MOTION for Leave to File Third Amended Complaint , filed by
                                        GIESECKE & DEVRIENT GMBH.Response due by 7/11/2019.
                                        (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Text of Proposed Order)


13 of 33                                                                                                             7/8/2022, 9:06 AM
CM/ECF Live System, USCFC, District Version NextGen 1.6.3           https://cofc-ecf.sso.dcn/cgi-bin/DktRpt.pl?129742961132609-L_1_0-1
                             Case: 22-2002         Document: 1-2   Page: 17       Filed: 07/12/2022

                                          (Utley, Jay) (Entered: 06/27/2019)
           07/03/2019               109 Unopposed MOTION for Extension of Time to File Response as to 108
                                        MOTION for Leave to File Third Amended Complaint , filed by CSRA,
                                        INC., GEMALTO, INC., IDEMIA IDENTITY & SECURITY USA,
                                        LLC, UNISYS CORPORATION, USA.Response due by 7/17/2019.
                                        (Johnson, Edward) Modified on 8/30/2019 to terminate pending gavel.
                                        See Response filed 7/25/19 ECF 115 (vds). (Entered: 07/03/2019)
           07/08/2019                     Minute Entry - Was the proceeding sealed to the public? No. Proceeding
                                          held in Washington D.C. 7/8/2019, 10:00 a.m. through 7/8/2019, 1:00
                                          p.m. before Senior Judge Mary Ellen Coster Williams: Oral Argument.
                                          [Total number of hours of proceeding: 3]. Official record of proceeding
                                          taken by court reporter. To order a certified transcript or an audio
                                          recording of the proceeding, click HERE.(kw) (Entered: 07/08/2019)
           07/15/2019               110 Notice of Filing of Certified Transcript for proceedings held on July 8,
                                        2019 in Washington, D.C. (ew) (Entered: 07/15/2019)
           07/15/2019               111 TRANSCRIPT of proceedings held on July 8, 2019 before Senior Judge
                                        Mary Ellen Coster Williams. Total No. of Pages: 1-111. Procedures Re:
                                        Electronic Transcripts and Redactions. To order a copy of the transcript,
                                        click HERE. Notice of Intent to Redact due 7/22/2019. Redacted
                                        Transcript Deadline set for 8/12/2019. Release of Transcript Restriction
                                        set for 10/10/2019. (ew) (Entered: 07/15/2019)
           07/18/2019               112 STATUS CONFERENCE ORDER: Status Conference set for 7/22/2019
                                        01:00 PM in Chambers (Telephonic) before Senior Judge Mary Ellen
                                        Coster Williams. Signed by Senior Judge Mary Ellen Coster Williams.
                                        (kw) Service on parties made. (Entered: 07/18/2019)
           07/20/2019                     IMPORTANT NOTICE: On August 26, 2019, the United States Court
                                          of Federal Claims will upgrade its current CM/ECF system to the Next
                                          Generation of CM/ECF (NextGen). Complete information regarding the
                                          NextGen implementation can be found on the court's website at
                                          http://www.uscfc.uscourts.gov. Preparing for NextGen is a two-step
                                          process. Step one is to upgrade your PACER account. If you have not yet
                                          re gistered for an individual PACER account or upgraded your existing
                                          PACER account, please do so immediately. Step two is to link your
                                          upgraded PACER account to your current CM/ECF filing account. Step
                                          two cannot be completed until on or after August 26, 2019. To link your
                                          upgraded PACER account on or after August 26, 2019, you must know
                                          your current CM/ECF login and password. Do not rely on your login and
                                          password to be saved in your web browser, because that method will not
                                          work with the NextGen upgrade. If you do not know your login and/or
                                          password or have any additional questions, please call the court's Clerks
                                          Office CM/ECF Help Desk at (202) 357-6402. (dh) (ADI) (Entered:
                                          07/20/2019)




14 of 33                                                                                                            7/8/2022, 9:06 AM
CM/ECF Live System, USCFC, District Version NextGen 1.6.3           https://cofc-ecf.sso.dcn/cgi-bin/DktRpt.pl?129742961132609-L_1_0-1
                             Case: 22-2002         Document: 1-2   Page: 18       Filed: 07/12/2022

           07/22/2019                     Minute Entry - Was the proceeding sealed to the public? no. Proceeding
                                          held in Washington D.C. 7/22/2019 before Senior Judge Mary Ellen
                                          Coster Williams: Status Conference. [Total number of minutes of
                                          proceeding: 20]. Proceeding was not officially recorded. The Court will
                                          conduct a follow-up telephonic status conference on HIDs motion for
                                          attorneys fees on July 29, 2019 at 2:00 p.m. EDT (Entered: 07/22/2019)
           07/22/2019               113 STATUS CONFERENCE ORDER: Status Conference set for 7/29/2019
                                        02:00 PM in Chambers (Telephonic) before Senior Judge Mary Ellen
                                        Coster Williams. Signed by Senior Judge Mary Ellen Coster Williams.
                                        (kw) Service on parties made. (Entered: 07/22/2019)
           07/25/2019               114 MOTION to Seal Document , filed by GEMALTO, INC..Response due
                                        by 8/8/2019.(Johnson, Edward) (Entered: 07/25/2019)
           07/25/2019               115 **SEALED**RESPONSE to 108 MOTION for Leave to File Third
                                        Amended Complaint , filed by GEMALTO, INC., USA.Reply due by
                                        8/1/2019. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                                        Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9
                                        Exhibit I, # 10 Exhibit J, # 11 Exhibit K)(Johnson, Edward) (Entered:
                                        07/25/2019)
           07/29/2019               116 ORDER REASSIGNING CASE to Judge Ryan T. Holte. Signed by Chief
                                        Judge Margaret M. Sweeney. (dls) Service on parties made. (Entered:
                                        07/29/2019)
           07/29/2019               117 NOTICE of Reassignment. Case reassigned to Judge Ryan T. Holte for
                                        all further proceedings. Senior Judge Mary Ellen Coster Williams no
                                        longer assigned to the case. (dls) (Entered: 07/29/2019)
           07/29/2019                     Minute Entry - Proceeding held in Washington DC on 7/29/2019 lasting
                                          30 minutes before Senior Judge Mary Ellen Coster Williams: Telephone
                                          Conference on motion for attorney fees. [Total number of days of
                                          proceeding: 1]. (cg) (Entered: 07/29/2019)
           07/29/2019                     Minute Entry - Was the proceeding sealed to the public? yes. Proceeding
                                          held in Washington DC 7/29/2019 lasting 15 minutes before Senior Judge
                                          Mary Ellen Coster Williams: Telephone Conference on motion for
                                          attorney fees. [Total number of days of proceeding: 1]. Proceeding was
                                          not officially recorded. To order a certified transcript or an audio
                                          recording of the proceeding, click HERE.(cg) (Entered: 07/29/2019)
           07/30/2019               118 ORDER HID's motion for attorneys' fees is referred to Judge
                                        Williams for ADR. Signed by Judge Ryan T. Holte. (kw) Service on
                                        parties made. (Entered: 07/30/2019)
           08/01/2019               119 MOTION to Seal Document , filed by GIESECKE & DEVRIENT
                                        GMBH.Response due by 8/15/2019.(Utley, Jay) (Entered: 08/01/2019)
           08/01/2019               120 **SEALED**REPLY to Response to Motion re 108 MOTION for Leave
                                        to File Third Amended Complaint , filed by GIESECKE & DEVRIENT
                                        GMBH.(Utley, Jay) (Entered: 08/01/2019)


15 of 33                                                                                                            7/8/2022, 9:06 AM
CM/ECF Live System, USCFC, District Version NextGen 1.6.3          https://cofc-ecf.sso.dcn/cgi-bin/DktRpt.pl?129742961132609-L_1_0-1
                             Case: 22-2002         Document: 1-2   Page: 19      Filed: 07/12/2022

           08/05/2019               121 Unopposed MOTION for Extension of Time until (See Motion) to Serve
                                        Invalidity Contentions and Join Parties , filed by USA.Response due by
                                        8/19/2019.(Sternhell, Philip) (Entered: 08/05/2019)
           08/05/2019               122 ORDER granting 114 Motion to Seal Document Signed by Judge Ryan T.
                                        Holte. (Bagnolo, Nicholas) Service on parties made. (Entered:
                                        08/05/2019)
           08/05/2019               123 ORDER granting 119 Motion to Seal Document Signed by Judge Ryan T.
                                        Holte. (Bagnolo, Nicholas) Service on parties made. (Entered:
                                        08/05/2019)
           08/05/2019               124 ORDER finding as moot 107 Motion for Extension of Time; granting 121
                                        Motion for Extension of Time Signed by Judge Ryan T. Holte. (Bagnolo,
                                        Nicholas) Service on parties made. (Entered: 08/05/2019)
           08/16/2019                     IMPORTANT NOTICE: On August 26, 2019, the United States Court
                                          of Federal Claims will upgrade its current CM/ECF system to the Next
                                          Generation of CM/ECF (NextGen). Complete information regarding the
                                          NextGen implementation can be found on the court's website at
                                          http://uscfc.uscourts.gov. Please note that the court's CM/ECF system
                                          will be unavailable from 12:00 p.m. ( EDT) on Friday, August 23,
                                          2019, until 6:00 a.m. (EDT) on Monday, August 26, 2019. Although
                                          the Clerk's Office will be open on August 23, 2019, it will be deemed
                                          inaccessible under Rule 6 of the Rules of the United States Court of
                                          Federal Claims for purposes of calculating deadlines. Preparing for
                                          NextGen is a two-step process. Step one is to upgrade your PACER
                                          account. You should have your individual upgraded PACER account at
                                          this time. Step two is to link your upgraded PACER account to your
                                          current CM/ECF filing accounton or after August 26, 2019. Instructions
                                          for linking your account can be found on the court's website at
                                          http://uscfc. uscourts.gov. To link your accounts, you MUST know your
                                          CM/ECF login and password---do not rely on your browser to remember
                                          your login credentials. If you are unsure of your CM/ECF login and/or
                                          password, contact the Clerk's Office CM/ECF Help Desk immediately at
                                          (202) 357-6402. You may also call the Help Desk with any other
                                          questions.. (dh) (ADI) (Entered: 08/16/2019)
           09/10/2019                     Minute Entry - Unrecorded Proceeding held in Washington, DC on
                                          9/10/2019 lasting approximately 2 hours and 20 minutes before Senior
                                          Judge Mary Ellen Coster Williams: ADR Telephonic
                                          Hearing/Conference. [Total number of days of proceeding: 1]. Proceeding
                                          was not officially recorded. (ag) (Entered: 09/10/2019)
           09/10/2019               125 STATUS CONFERENCE ORDER: Status Conference set for 9/17/2019
                                        02:00 PM in Chambers (Telephonic) before Judge Ryan T. Holte.
                                        Signed by Judge Ryan T. Holte. (Bagnolo, Nicholas) Service on parties
                                        made. (Entered: 09/10/2019)




16 of 33                                                                                                           7/8/2022, 9:06 AM
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                             Case: 22-2002         Document: 1-2    Page: 20       Filed: 07/12/2022

           09/10/2019               126 ADR SCHEDULING ORDER: ADR Hearing/Conference set for
                                        9/16/2019 11:00AM in Chambers (Telephonic) before Senior Judge Mary
                                        Ellen Coster Williams. Signed by Senior Judge Mary Ellen Coster
                                        Williams. (ag) (Entered: 09/10/2019)
           09/16/2019                     Minute Entry - Unrecorded Proceeding held in Washington, DC on
                                          9/16/2019 lasting approximately 3 hours and 30 minutes before Senior
                                          Judge Mary Ellen Coster Williams: ADR Telephonic
                                          Hearing/Conference. [Total number of days of proceeding: 1]. Proceeding
                                          was not officially recorded. (cg) (Entered: 09/16/2019)
           09/16/2019               127 ADR SCHEDULING ORDER:ADR Hearing/Conference set for
                                        9/20/2019, 3:00PM EST in Chambers (Telephonic) before Senior Judge
                                        Mary Ellen Coster Williams. Signed by Senior Judge Mary Ellen Coster
                                        Williams. (cg) (Entered: 09/16/2019)
           09/17/2019                     Minute Entry - Was the proceeding sealed to the public? No. Proceeding
                                          held in Washington, DC 9/17/2019 before Judge Ryan T. Holte: Status
                                          Conference. [Total number of days of proceeding: 1]. Official record of
                                          proceeding taken via electronic digital recording (EDR). To order a
                                          certified transcript or an audio recording of the proceeding, click
                                          HERE.(Bagnolo, Nicholas) (Entered: 09/17/2019)
           09/17/2019               128 ORDER re Status Conference, The government shall file its response
                                        brief by 10/1/2019; the parties shall file a joint status report by
                                        10/8/2019. Signed by Judge Ryan T. Holte. (Bagnolo, Nicholas) Service
                                        on parties made. (Entered: 09/17/2019)
           09/20/2019                     Minute Entry - Unrecorded Proceeding held in Washington, DC on
                                          9/20/2019 lasting 15 minutes before Senior Judge Mary Ellen Coster
                                          Williams: ADR Telephonic Hearing/Conference. [Total number of days
                                          of proceeding: 1]. Proceeding was not officially recorded. (cg) (Entered:
                                          09/20/2019)
           09/24/2019               129 ADR SCHEDULING ORDER:ADR Hearing/Conference set for
                                        9/24/2019, 3:00PM EST in Chambers (Telephonic) before Senior Judge
                                        Mary Ellen Coster Williams. Signed by Senior Judge Mary Ellen Coster
                                        Williams. (cg) (Entered: 09/24/2019)
           09/24/2019                     Minute Entry - Unrecorded Proceeding held in Washington, DC on
                                          9/24/2019 lasting approximately 20 minutes before Senior Judge Mary
                                          Ellen Coster Williams: ADR Telephonic Hearing/Conference. [Total
                                          number of days of proceeding: 1]. Proceeding was not officially recorded.
                                          (cg) (Entered: 09/24/2019)
           09/25/2019               130 Notice of Filing of Certified Transcript for proceedings held on
                                        September 17, 2019 in Washington, D.C. (ew) (Entered: 09/25/2019)
           09/25/2019               131 TRANSCRIPT of proceedings held on September 17, 2019 before Judge
                                        Ryan T. Holte. Total No. of Pages: 1-34. Procedures Re: Electronic
                                        Transcripts and Redactions. To order a copy of the transcript, click
                                        HERE. Notice of Intent to Redact due 10/2/2019. Redacted Transcript


17 of 33                                                                                                             7/8/2022, 9:06 AM
CM/ECF Live System, USCFC, District Version NextGen 1.6.3            https://cofc-ecf.sso.dcn/cgi-bin/DktRpt.pl?129742961132609-L_1_0-1
                             Case: 22-2002         Document: 1-2    Page: 21       Filed: 07/12/2022

                                          Deadline set for 10/23/2019. Release of Transcript Restriction set for
                                          12/23/2019. (ew) (Entered: 09/25/2019)
           10/01/2019               132 SUPPLEMENTAL BRIEF re: 78 Motion to Stay, Government's Response
                                        to Gemalto's Motion to Stay, filed by USA. (Sternhell, Philip) (Entered:
                                        10/01/2019)
           10/08/2019               133 JOINT STATUS REPORT Regarding Gemalto, Inc.'s Motion to Stay the
                                        Case Pursuant to the Federal Arbitration Act (ECF No. 78) and
                                        Plaintiff's Opposed Motion for Leave to Amend Complaint and
                                        Infringement Contentions (ECF No. 108), filed by GIESECKE &
                                        DEVRIENT GMBH. (Utley, Jay) (Entered: 10/08/2019)
           10/15/2019               134 STIPULATION of Dismissal with prejudice as to Third Party Defendant,
                                        Unisys Corporation, filed by GIESECKE & DEVRIENT GMBH. (Utley,
                                        Jay) Modified on 10/16/2019 to edit docket text to indicate stipulation is
                                        as to the Third Party Defendant only.(dls). Modified on 10/21/2019 (tb).
                                        Changed Intervenor-Defendant to Third Party Defendant. (Entered:
                                        10/15/2019)
           10/18/2019               135 ORDER granting dismissal of Third Party Defendant Unisys Corporation
                                        re 134 Stipulation of Dismissal, filed by GIESECKE & DEVRIENT
                                        GMBH Signed by Judge Ryan T. Holte. (nb7) Service on parties made.
                                        Modified on 10/21/2019 (tb). Edited docket text to indicate dismissal is
                                        for Third Party Defendant Unisys Corporation only. (Entered:
                                        10/18/2019)
           12/18/2019               136 ORDER Setting Oral Argument 78 MOTION to Stay the Case Pursuant
                                        to the Federal Arbitration Act. Oral Argument set for 1/29/2020 02:00
                                        PM in Courtroom before Judge Ryan T. Holte. ORDER Staying
                                        Further Consideration of 108 MOTION for Leave to File Third Amended
                                        Complaint. Signed by Judge Ryan T. Holte. (nb7) Service on parties
                                        made. (Entered: 12/18/2019)
           01/24/2020               137 **VACATED PURSUANT TO 168 Order of 10/14/20.** REPORTED
                                        OPINION granting 63 Motion for Attorney Fees as to entitlement. Signed
                                        by Senior Judge Mary Ellen Coster Williams. (ag) Service on parties
                                        made. Modified on 1/24/2020 - corrected docket text (jt1). Modified on
                                        11/4/2020 to add Vacated statement (tb). (Entered: 01/24/2020)
           01/28/2020               138 Joint MOTION to Stay Oral Argument and Decision on Gemalto, Inc.'s
                                        Motion to Stay the Case , filed by GIESECKE & DEVRIENT
                                        GMBH.Response due by 2/11/2020.(Utley, Jay) (Entered: 01/28/2020)
           01/28/2020               139 ORDER granting 138 Motion to Stay. Status Report due by 5:00 pm
                                        (EST) on 2/17/2020. Signed by Judge Ryan T. Holte. (nb7) Service on
                                        parties made. (Entered: 01/28/2020)
           02/10/2020               140 **SEALED** MOTION for Attorney Fees Quantum of Attorneys' Fees
                                        and Costs, filed by HID GLOBAL CORPORATION.Response due by
                                        3/9/2020. (Attachments: # 1 Affidavit Declaration of L. Lavenue, # 2
                                        Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7


18 of 33                                                                                                             7/8/2022, 9:06 AM
CM/ECF Live System, USCFC, District Version NextGen 1.6.3            https://cofc-ecf.sso.dcn/cgi-bin/DktRpt.pl?129742961132609-L_1_0-1
                             Case: 22-2002         Document: 1-2    Page: 22       Filed: 07/12/2022

                                          Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, #
                                          12 Exhibit 11)(Lavenue, Lionel) (Entered: 02/10/2020)
           02/10/2020               141 MOTION to Seal Document 140 MOTION for Attorney Fees Quantum
                                        of Attorneys' Fees and Costs Exhibits 1 and 2 to Motion for Quantum,
                                        filed by HID GLOBAL CORPORATION.Response due by 2/24/2020.
                                        (Lavenue, Lionel) (Entered: 02/10/2020)
           02/17/2020               142 JOINT STATUS REPORT Joint Stipulation re Gemalto, Inc.'s Motion to
                                        Stay (ECF No. 78) and Giesecke's Motion for Leave to Amend Complaint
                                        (ECF No. 108), filed by GIESECKE & DEVRIENT GMBH. (Utley, Jay)
                                        (Entered: 02/17/2020)
           02/18/2020               143 ORDER granting 78 Motion to Stay (Status Report due within 10 days of
                                        arbitration final decision or by 9/15/2020); granting 108 Motion for
                                        Leave to File Amended Complaint (Amended Complaint due by
                                        3/17/2020). Oral argument set for 19 February 2020 is canceled.
                                        Signed by Judge Ryan T. Holte. (nb7) Service on parties made. (Entered:
                                        02/18/2020)
           03/09/2020               144 MOTION to Seal Document , filed by GIESECKE & DEVRIENT
                                        GMBH.Response due by 3/23/2020.(Utley, Jay) (Entered: 03/09/2020)
           03/09/2020               145 **SEALED**RESPONSE to 140 MOTION for Attorney Fees Quantum
                                        of Attorneys' Fees and Costs , filed by GIESECKE & DEVRIENT
                                        GMBH.Reply due by 3/16/2020. (Attachments: # 1 Declaration of Yoon
                                        Chae, # 2 Exhibit A)(Utley, Jay) (Entered: 03/09/2020)
           03/13/2020               146 Third AMENDED COMPLAINT against USA, filed by GIESECKE &
                                        DEVRIENT GMBH. , filed by GIESECKE & DEVRIENT
                                        GMBH.Answer due by 3/27/2020. (Attachments: # 1 Exhibit A, # 2
                                        Exhibit B)(Utley, Jay) (Entered: 03/13/2020)
           03/23/2020               147 **SEALED**REPLY to Response to Motion re 140 MOTION for
                                        Attorney Fees Quantum of Attorneys' Fees and Costs , filed by HID
                                        GLOBAL CORPORATION. (Attachments: # 1 Exhibit 1)(Lavenue,
                                        Lionel) (Entered: 03/23/2020)
           03/23/2020               148 MOTION to Seal Document 147 Reply to Response to Motion for
                                        Quantum of Attorneys' Fees and Costs, filed by HID GLOBAL
                                        CORPORATION.Response due by 4/6/2020.(Lavenue, Lionel) (Entered:
                                        03/23/2020)
           03/30/2020               149 STATUS CONFERENCE ORDER: Status Conference set for 4/1/2020
                                        10:30 AM in Chambers (Telephonic) before Judge Ryan T. Holte.
                                        Signed by Judge Ryan T. Holte. (nb7) Service on parties made. (Entered:
                                        03/30/2020)
           04/01/2020               150 ORDER granting 141 Motion to Seal Document; granting 144 Motion to
                                        Seal Document; granting 148 Motion to Seal Document. Signed by Judge
                                        Ryan T. Holte. (nb7) Service on parties made. (Entered: 04/01/2020)




19 of 33                                                                                                             7/8/2022, 9:06 AM
CM/ECF Live System, USCFC, District Version NextGen 1.6.3           https://cofc-ecf.sso.dcn/cgi-bin/DktRpt.pl?129742961132609-L_1_0-1
                             Case: 22-2002         Document: 1-2   Page: 23       Filed: 07/12/2022

           04/01/2020               151 SCHEDULING ORDER: Supplemental briefs due by 4/15/2020;
                                        response to supplemental briefs due by 4/29/2020. Signed by Judge
                                        Ryan T. Holte. (nb7) Service on parties made. (Entered: 04/01/2020)
           04/07/2020               152 Joint MOTION for Extension of Time to File Supplemental Briefs on
                                        Jurisdiction, filed by HID GLOBAL CORPORATION.Response due by
                                        4/21/2020.(Lavenue, Lionel) (Entered: 04/07/2020)
           04/09/2020               153 ORDER granting 152 Motion for Extension of Time: Supplemental
                                        briefs due by 4/29/2020; response to supplemental briefs due
                                        5/20/2020. Signed by Judge Ryan T. Holte. (nb7) Service on parties
                                        made. (Entered: 04/09/2020)
           04/20/2020                     Minute Entry - Was the proceeding sealed to the public? Yes. Proceeding
                                          held in Washington, DC 4/1/2020 before Judge Ryan T. Holte: Status
                                          Conference. [Total number of days of proceeding: 1]. Official record of
                                          proceeding taken by court reporter. To order a certified transcript or an
                                          audio recording of the proceeding, click HERE.(nb7) (Entered:
                                          04/20/2020)
           04/28/2020               154 Notice of Filing of Certified Transcript for proceedings held on April 1,
                                        2020 in Washington, D.C. (ew) (Entered: 04/28/2020)
           04/28/2020               155 **SEALED**TRANSCRIPT of Proceedings held on April 1, 2020
                                        before Judge Ryan T. Holte. Total No. of Pages: 1-35.For parties in the
                                        case only, to order a copy of the transcript, click HERE.(ew) (Entered:
                                        04/28/2020)
           04/29/2020               156 SUPPLEMENTAL BRIEF Initial Supplemental Brief on Jurisdiction,
                                        filed by HID GLOBAL CORPORATION. (Lavenue, Lionel) (Entered:
                                        04/29/2020)
           04/29/2020               157 SUPPLEMENTAL BRIEF re: 151 Scheduling Order Plaintiff's Initial
                                        Supplemental Brief on Jurisdiction, filed by GIESECKE & DEVRIENT
                                        GMBH. (Utley, Jay) (Entered: 04/29/2020)
           05/20/2020               158 RESPONSE to 156 Supplemental Brief Plaintiff's Response
                                        Supplemental Brief on Jurisdiction, filed by GIESECKE & DEVRIENT
                                        GMBH. (Utley, Jay) (Entered: 05/20/2020)
           05/20/2020               159 SUPPLEMENTAL BRIEF Responsive Supplemental Brief on
                                        Jurisdiction, filed by HID GLOBAL CORPORATION. (Lavenue,
                                        Lionel) Modified on 5/21/2020 (tb). (Entered: 05/20/2020)
           05/20/2020               160 RESPONSE to 156 Supplemental Brief, 157 Supplemental Brief
                                        Defendant's Response to Supplemental Briefing on Jurisdiction, filed by
                                        USA. (Sternhell, Philip) (Entered: 05/20/2020)
           05/20/2020               161 **RE-DOCKETED 159 TO CORRECT FILING ERROR** RESPONSE
                                        to 157 Supplemental Brief, filed by HID GLOBAL CORPORATION.
                                        Service: 5/20/20.(tb) (Entered: 05/21/2020)




20 of 33                                                                                                            7/8/2022, 9:06 AM
CM/ECF Live System, USCFC, District Version NextGen 1.6.3            https://cofc-ecf.sso.dcn/cgi-bin/DktRpt.pl?129742961132609-L_1_0-1
                             Case: 22-2002         Document: 1-2    Page: 24       Filed: 07/12/2022

           05/28/2020               162 ORDER Setting Oral Argument on Motion 140 MOTION for Attorney
                                        Fees: Oral Argument set for 7/8/2020 10:00 AM in Courtroom before
                                        Judge Ryan T. Holte. Argument will only address jurisdictional issue
                                        subject to supplemental briefing. Signed by Judge Ryan T. Holte. (nb7)
                                        Service on parties made. (Entered: 05/28/2020)
           07/07/2020               163 SCHEDULING ORDER: Oral Argument set for 7/8/2020 01:00 PM in
                                        National Courts Building Annex before Judge Ryan T. Holte. Signed
                                        by Judge Ryan T. Holte. (nb7) Service on parties made. (Entered:
                                        07/07/2020)
           07/23/2020                     Minute Entry - Was the proceeding sealed to the public? No. Proceeding
                                          held in Washington, DC 7/8/2020 before Judge Ryan T. Holte: Oral
                                          Argument. [Total number of days of proceeding: 1]. Official record of
                                          proceeding taken by court reporter. To order a certified transcript or an
                                          audio recording of the proceeding, click HERE.(nb7) (Entered:
                                          07/23/2020)
           08/05/2020               164 Notice of Filing of Certified Transcript for proceedings held on July 8,
                                        2020 in Washington, D.C. (ew) (Entered: 08/05/2020)
           08/05/2020               165 TRANSCRIPT of proceedings held on July 8, 2020 before Judge Ryan T.
                                        Holte. Total No. of Pages: 1-81. Procedures Re: Electronic Transcripts
                                        and Redactions. To order a copy of the transcript, click HERE. Notice of
                                        Intent to Redact due 8/12/2020. Redacted Transcript Deadline set for
                                        9/2/2020. Release of Transcript Restriction set for 11/2/2020. (ew)
                                        (Entered: 08/05/2020)
           09/15/2020               166 JOINT STATUS REPORT , filed by GIESECKE & DEVRIENT GMBH.
                                        (Utley, Jay) (Entered: 09/15/2020)
           09/21/2020               167 STATUS REPORT ORDER: Joint status report due within 10 days of
                                        decision by WIPO Arbitral Tribunal; if WIPO Arbitral Tribunal has
                                        not issued a decision by 12/31/2020, the parties shall file a joint status
                                        report by 1/8/2021. Signed by Judge Ryan T. Holte. (nb7) Service on
                                        parties made. (Entered: 09/21/2020)
           10/14/2020               168 **SEALED** OPINION and ORDER staying 140 Motion for Attorney
                                        Fees and vacating this court's Order of 1/24/20. Joint Status Report due
                                        by 11/13/2020. Signed by Judge Ryan T. Holte. (tjw) Copy to parties.
                                        (Entered: 10/14/2020)
           10/22/2020               169 REPORTED OPINION AND ORDER. Unsealed version of 168: staying
                                        140 Motion for Attorney Fees and vacating this court's Order of 1/24/20.
                                        Joint Status Report due by 11/13/2020. Signed by Judge Ryan T. Holte.
                                        (tjw) Service on parties made. (Entered: 10/22/2020)
           11/13/2020               170 JOINT STATUS REPORT Regarding Further Proceedings on
                                        Entitlement of Attorneys' Fees, filed by HID GLOBAL CORPORATION.
                                        (Lavenue, Lionel) (Entered: 11/13/2020)




21 of 33                                                                                                             7/8/2022, 9:06 AM
CM/ECF Live System, USCFC, District Version NextGen 1.6.3            https://cofc-ecf.sso.dcn/cgi-bin/DktRpt.pl?129742961132609-L_1_0-1
                             Case: 22-2002         Document: 1-2    Page: 25       Filed: 07/12/2022

           11/23/2020               171 SCHEDULING ORDER: Status Conference set for 12/2/2020 03:00
                                        PM in Chambers (Telephonic) before Judge Ryan T. Holte. Signed by
                                        Judge Ryan T. Holte. (tjw) Service on parties made. (Entered:
                                        11/23/2020)
           12/03/2020                     Minute Entry - Was the proceeding sealed to the public? No. Proceeding
                                          held in Washington, DC 12/2/2020 before Judge Ryan T. Holte:
                                          Scheduling Conference. [Total number of days of proceeding: 1]. Official
                                          record of proceeding taken via electronic digital recording (EDR). To
                                          order a certified transcript or an audio recording of the proceeding, click
                                          HERE. (tjw) (Entered: 12/03/2020)
           12/03/2020               172 SCHEDULING ORDER: Supplemental brief due by 1/13/2021;
                                        Response due by 3/3/2021; Third Party and Government replies, if
                                        necessary, due by 3/17/2021. Signed by Judge Ryan T. Holte. (tjw)
                                        Service on parties made. (Entered: 12/03/2020)
           12/23/2020               173 Notice of Filing of Certified Transcript for proceedings held on
                                        December 2, 2020 in Washington, D.C. (ew) (Entered: 12/23/2020)
           12/23/2020               174 TRANSCRIPT of proceedings held on December 2, 2020 before Judge
                                        Ryan T. Holte. Total No. of Pages: 1-51. Procedures Re: Electronic
                                        Transcripts and Redactions. To order a copy of the transcript, click
                                        HERE. Notice of Intent to Redact due 12/30/2020. Redacted Transcript
                                        Deadline set for 1/20/2021. Release of Transcript Restriction set for
                                        3/22/2021. (ew) (Entered: 12/23/2020)
           01/08/2021               175 JOINT STATUS REPORT , filed by GIESECKE & DEVRIENT GMBH.
                                        (Utley, Jay) (Entered: 01/08/2021)
           01/08/2021               176 STATUS REPORT ORDER: Joint status report due within 10 days of
                                        the issuance of a final decision by the WIPO Arbitral Tribunal; if the
                                        WIPO Arbitral Tribunal has not issued a decision by 26 February
                                        2021, the parties shall file a joint status report on or before 5 March
                                        2021. Signed by Judge Ryan T. Holte. (yg) Service on parties made.
                                        (Entered: 01/08/2021)
           01/13/2021               177 SUPPLEMENTAL BRIEF Opening Supplemental Brief on Entitlement to
                                        Attorneys' Fee Under Legal Theories other than 35 U.S.C. § 285, filed by
                                        HID GLOBAL CORPORATION. (Lavenue, Lionel) (Entered:
                                        01/13/2021)
           02/26/2021               178 Joint MOTION to Seal Document , filed by GIESECKE & DEVRIENT
                                        GMBH.Response due by 3/12/2021.(Utley, Jay) (Entered: 02/26/2021)
           02/26/2021               179 ORDER granting 178 Motion to Seal Document Signed by Judge Ryan T.
                                        Holte. (yg) Service on parties made. (Entered: 02/26/2021)
           03/01/2021               180 **SEALED**JOINT STATUS REPORT , filed by GIESECKE &
                                        DEVRIENT GMBH. (Attachments: # 1 Exhibit A)(Utley, Jay) (Entered:
                                        03/01/2021)



22 of 33                                                                                                             7/8/2022, 9:06 AM
CM/ECF Live System, USCFC, District Version NextGen 1.6.3          https://cofc-ecf.sso.dcn/cgi-bin/DktRpt.pl?129742961132609-L_1_0-1
                             Case: 22-2002         Document: 1-2   Page: 26      Filed: 07/12/2022

           03/02/2021               181 STATUS REPORT ORDER: Status Report due by 3/31/2021. Signed
                                        by Judge Ryan T. Holte. (yg) Service on parties made. (Entered:
                                        03/02/2021)
           03/03/2021               182 RESPONSE to 177 Supplemental Brief Plaintiff's Response in
                                        Opposition to HID Global Corporation's Opening Supplemental Brief on
                                        Entitlement to Attorneys' Fees Under Legal Theories Other Than 35
                                        U.S.C. § 285, filed by GIESECKE & DEVRIENT GMBH. (Attachments:
                                        # 1 Declaration of D. Yoon Chae)(Utley, Jay) (Entered: 03/03/2021)
           03/17/2021               183 RESPONSE to 177 Supplemental Brief and 182 Supplemental Brief, filed
                                        by USA. (Sternhell, Philip) (Entered: 03/17/2021)
           03/17/2021               184 SUPPLEMENTAL BRIEF re: 182 Response to Supplemental Brief,
                                        Reply Supplemental Brief on Entitlement to Attorneys' Fees Under Legal
                                        Theories Other than 35 U.S.C. § 285, filed by HID GLOBAL
                                        CORPORATION. (Lavenue, Lionel) (Entered: 03/17/2021)
           03/30/2021               185 Consented MOTION to Substitute Attorney John G. Flaim in place of Jay
                                        F. Utley and Motion to Withdraw Jay F. Utley, filed by GIESECKE &
                                        DEVRIENT GMBH.(Flaim, John) (Entered: 03/30/2021)
           03/30/2021                     CLERK'S NOTICE granting Motion to Substitute Attorney (Consented)
                                          pursuant to Rule 83.1(c)(4). Added attorney John G. Flaim for
                                          GIESECKE & DEVRIENT GMBH. Attorney Jay Forrest Utley
                                          terminated. (tb) (Entered: 03/31/2021)
           03/31/2021               186 Joint MOTION to Seal Document , filed by GIESECKE & DEVRIENT
                                        GMBH.Response due by 4/14/2021.(Flaim, John) (Entered: 03/31/2021)
           03/31/2021               187 **SEALED**JOINT STATUS REPORT and Proposed Schedule, filed
                                        by GIESECKE & DEVRIENT GMBH. (Attachments: # 1 Exhibit A, # 2
                                        Exhibit B)(Flaim, John) (Entered: 03/31/2021)
           04/01/2021               188 ORDER granting 186 Motion to Seal Document and adopting the parties'
                                        proposals in 187 Joint Status Report. The present case remains
                                        STAYED. The parties shall file a joint status report within 10 days
                                        following the WIPO Arbitral Tribunals ruling, where the joint status
                                        report shall inform the Court of the ruling issued by the Arbitral
                                        Tribunal. In the event the anticipated ruling by the WIPO Arbitral
                                        Tribunal is not issued by 17 May 2021, the parties shall submit a
                                        joint status report by 24 May 2021, providing an update regarding
                                        the status of Gemaltos Application. Signed by Judge Ryan T. Holte.
                                        (yg) Service on parties made. (Entered: 04/01/2021)
           05/13/2021               189 Joint MOTION to Seal Document , filed by GIESECKE & DEVRIENT
                                        GMBH.Response due by 5/27/2021.(Flaim, John) (Entered: 05/13/2021)
           05/13/2021               190 **SEALED**JOINT STATUS REPORT , filed by GIESECKE &
                                        DEVRIENT GMBH. (Attachments: # 1 Exhibit A)(Flaim, John)
                                        (Entered: 05/13/2021)



23 of 33                                                                                                           7/8/2022, 9:06 AM
CM/ECF Live System, USCFC, District Version NextGen 1.6.3           https://cofc-ecf.sso.dcn/cgi-bin/DktRpt.pl?129742961132609-L_1_0-1
                             Case: 22-2002         Document: 1-2   Page: 27       Filed: 07/12/2022

           05/14/2021               191 ORDER granting 189 Motion to Seal Document and adopting the
                                        schedule proposed in 190 Joint Status Report. The present case remains
                                        STAYED. The parties shall file a joint status report on or before 2
                                        June 2021 to propose a scheduling agreement for future proceedings
                                        and case management timeline. Signed by Judge Ryan T. Holte. (yg)
                                        Service on parties made. (Entered: 05/14/2021)
           06/02/2021               192 MOTION to Seal Document , filed by GEMALTO, INC..Response due
                                        by 6/16/2021.(Johnson, Edward) (Entered: 06/02/2021)
           06/02/2021               193 **SEALED** MOTION to Continue the Stay Pending Resolution of
                                        Plaintiff's Post-Arbitration Dispute, filed by GEMALTO, INC..Response
                                        due by 6/16/2021. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                                        Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                                        Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, #
                                        13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17
                                        Exhibit Q)(Johnson, Edward) (Entered: 06/02/2021)
           06/02/2021               194 Joint MOTION to Seal Document , filed by GEMALTO, INC.,
                                        GIESECKE & DEVRIENT GMBH.Response due by 6/16/2021.(Flaim,
                                        John) (Entered: 06/02/2021)
           06/02/2021               195 **SEALED**JOINT STATUS REPORT , filed by GIESECKE &
                                        DEVRIENT GMBH. (Attachments: # 1 Exhibit Exhibit A)(Flaim, John)
                                        (Entered: 06/02/2021)
           06/03/2021               196 ORDER granting 194 Motion to Seal Document. The present case
                                        remains STAYED pending resolution of Gemaltos Motion to
                                        Continue the Stay. Signed by Judge Ryan T. Holte. (yg) Service on
                                        parties made. (Entered: 06/03/2021)
           06/16/2021               197 MOTION to Seal Document , filed by GIESECKE & DEVRIENT
                                        GMBH.Response due by 6/30/2021.(Flaim, John) (Entered: 06/16/2021)
           06/16/2021               198 **SEALED**RESPONSE to 193 MOTION to Continue the Stay
                                        Pending Resolution of Plaintiff's Post-Arbitration Dispute , filed by
                                        GIESECKE & DEVRIENT GMBH.Reply due by 6/23/2021.
                                        (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Flaim, John) (Entered:
                                        06/16/2021)
           06/18/2021               199 Unopposed MOTION for Leave to File Supplemental Brief , filed by
                                        USA.Response due by 7/2/2021.(Sternhell, Philip) (Entered:
                                        06/18/2021)
           06/21/2021               200 ORDER granting 199 Motion for Leave to File. The government shall
                                        file a supplemental brief on or before 1 July 2021. Signed by Judge
                                        Ryan T. Holte. (yg) Service on parties made. (Entered: 06/21/2021)
           06/23/2021               201 MOTION to Seal Document , filed by GEMALTO, INC..Response due
                                        by 7/7/2021.(Johnson, Edward) (Entered: 06/23/2021)




24 of 33                                                                                                            7/8/2022, 9:06 AM
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                             Case: 22-2002         Document: 1-2   Page: 28       Filed: 07/12/2022

           06/23/2021               202 **SEALED**REPLY to Response to Motion re 193 MOTION to
                                        Continue the Stay Pending Resolution of Plaintiff's Post-Arbitration
                                        Dispute , filed by GEMALTO, INC.. (Attachments: # 1 Exhibit
                                        R)(Johnson, Edward) (Entered: 06/23/2021)
           06/30/2021               203 MOTION to Seal Document , filed by USA.Response due by 7/14/2021.
                                        (Sternhell, Philip) (Entered: 06/30/2021)
           07/01/2021               204 ORDER granting 203 the Government's Motion to Seal Document
                                        Signed by Judge Ryan T. Holte. (yg) Service on parties made. (Entered:
                                        07/01/2021)
           07/01/2021               205 **SEALED**RESPONSE to 193 MOTION to Continue the Stay
                                        Pending Resolution of Plaintiff's Post-Arbitration Dispute , filed by
                                        USA.Reply due by 7/8/2021.(Sternhell, Philip) (Entered: 07/01/2021)
           08/04/2021               206 MOTION to Seal Document , filed by GEMALTO, INC..Response due
                                        by 8/18/2021.(Johnson, Edward) (Entered: 08/04/2021)
           08/04/2021               207 **SEALED**STATUS REPORT , filed by GEMALTO, INC..
                                        (Attachments: # 1 Exhibit A)(Johnson, Edward) (Entered: 08/04/2021)
           08/05/2021                     Minute Entry - Was the proceeding sealed to the public? Yes. Proceeding
                                          held in Washington, DC 8/5/2021 before Judge Ryan T. Holte: Status
                                          Conference. [Total number of days of proceeding: 1] Approximate
                                          duration of proceeding: 1 hour and 30 minutes. Official record of
                                          proceeding taken via electronic digital recording (EDR). To order a
                                          certified transcript or an audio recording of the proceeding, click
                                          HERE.(mrm) (Entered: 08/05/2021)
           08/11/2021               208 SCHEDULING ORDER: Oral Argument set for 9/1/2021 10:30 AM in
                                        Courtroom before Judge Ryan T. Holte. Signed by Judge Ryan T.
                                        Holte. (mrm) Service on parties made. (Entered: 08/11/2021)
           08/16/2021               209 Notice of Filing of Certified Transcript for proceedings held on August 5,
                                        2021 in Washington, D.C. (ac7) (Entered: 08/16/2021)
           08/16/2021               210 **SEALED**TRANSCRIPT of Proceedings held on August 5, 2021
                                        before Judge Ryan T. Holte. Total No. of Pages: 1-54.For parties in the
                                        case only, to order a copy of the transcript, click HERE. (ac7) (Entered:
                                        08/16/2021)
           08/30/2021               211 JOINT STATUS REPORT AND STIPULATED SCHEDULE, filed by
                                        GEMALTO, INC.. (Johnson, Edward) (Entered: 08/30/2021)
           08/31/2021               212 ORDER granting 192 Motion to Seal Document; 197 MOTION to Seal
                                        Document; 201 MOTION to Seal Document; 206 MOTION to Seal
                                        Document; finding as moot 193 MOTION to Continue the Stay Pending
                                        Resolution of Plaintiff's Post-Arbitration Dispute. Status Conference set
                                        for 9/2/2021 at 11:00 AM in Chambers (Telephonic) before Judge
                                        Ryan T. Holte.). Redacted filings due by 9/8/2021. Signed by Judge
                                        Ryan T. Holte. (mrm) Service on parties made. (Entered: 08/31/2021)



25 of 33                                                                                                            7/8/2022, 9:06 AM
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                             Case: 22-2002         Document: 1-2    Page: 29       Filed: 07/12/2022

           09/03/2021                     Minute Entry - Was the proceeding sealed to the public? No. Proceeding
                                          held in Washington, DC 9/2/2021 before Judge Ryan T. Holte: Status
                                          Conference. [Total number of days of proceeding: 1] Approximate
                                          duration of proceeding: 1 hour. Official record of proceeding taken via
                                          electronic digital recording (EDR). To order a certified transcript or an
                                          audio recording of the proceeding, click HERE.(mrm) (Entered:
                                          09/03/2021)
           09/03/2021               213 ORDER: the stay entered by the Court in its 143 Order is lifted with
                                        respect to the following schedule, hereby adopted: Third Amended
                                        Complaint due 9/15/21; Joint Motion for Protective Order due
                                        10/1/21; Preliminary Infringement Contentions due 10/1/21; Answer
                                        or Responsive Motion due 10/15/21; Preliminary Invalidity
                                        Contentions due 12/1/21; Parties Exchange Claim Terms by 1/14/22;
                                        Parties Exchange Constructions and Extrinsic Evidence by 2/4/22;
                                        Parties Meet and Confer for Narrowing Claim Terms by 2/11/22;
                                        Parties File Joint Claim Construction Chart by 3/4/22; Defendants'
                                        Opening Brief due 4/1/22; Plaintiff's Response Brief due 5/13/22;
                                        Defendants' Reply Brief due 5/23/22; Plaintiff's Sur-Reply Brief due
                                        5/30/22; Joint Claim Construction Statement due 6/2/22; Markman
                                        Hearing in Late June or Early July 2022; Deadline to Add Parties is
                                        6 Weeks After the Claim Construction Order; Deadline to serve
                                        Final Infringement and Invalidity Contentions is 2 months after the
                                        later of either the commencement of discovery or the claim
                                        construction order; Deadline to Amend Pleadings is 4 months after
                                        the claim construction order. Fact discovery shall remain stayed until
                                        30 days after final award in the parties' second WIPO arbitration.
                                        Signed by Judge Ryan T. Holte. (mrm) Service on parties made. (Entered:
                                        09/03/2021)
           09/07/2021               214 NOTICE of Appearance by Michel Elias Souaya for USA . (Souaya,
                                        Michel) (Entered: 09/07/2021)
           09/08/2021               215 REDACTED DOCUMENT redacting 198 Response to Motion, 212
                                        Order on Motion to Seal Document,, Order on Motion to Continue,,,,,,,,
                                        filed by GIESECKE & DEVRIENT GMBH. (Attachments: # 1 Exhibit
                                        A, # 2 Exhibit B)(Flaim, John) (Entered: 09/08/2021)
           09/08/2021               216 REDACTED DOCUMENT redacting 193 Motion to Continue,, 212
                                        Order on Motion to Seal Document,, Order on Motion to Continue,,,,,,,,
                                        filed by GEMALTO, INC.. (Johnson, Edward) (Entered: 09/08/2021)
           09/08/2021               217 REDACTED DOCUMENT redacting 202 Reply to Response to Motion,
                                        212 Order on Motion to Seal Document,, Order on Motion to
                                        Continue,,,,,,,, filed by GEMALTO, INC.. (Johnson, Edward) (Entered:
                                        09/08/2021)
           09/08/2021               218 REDACTED DOCUMENT redacting 207 Status Report, 212 Order on
                                        Motion to Seal Document,, Order on Motion to Continue,,,,,,,, filed by
                                        GEMALTO, INC.. (Johnson, Edward) (Entered: 09/08/2021)


26 of 33                                                                                                             7/8/2022, 9:06 AM
CM/ECF Live System, USCFC, District Version NextGen 1.6.3           https://cofc-ecf.sso.dcn/cgi-bin/DktRpt.pl?129742961132609-L_1_0-1
                             Case: 22-2002         Document: 1-2   Page: 30       Filed: 07/12/2022

           09/09/2021               219 RESPONSE to 203 Motion to Seal Document, 204 Order on Motion to
                                        Seal Document , filed by USA. (Souaya, Michel) (Entered: 09/09/2021)
           09/10/2021               220 Notice of Filing of Certified Transcript for proceedings held on
                                        September 2, 2021 in Washington, D.C. (ew) (Entered: 09/10/2021)
           09/10/2021               221 **SEALED**TRANSCRIPT of Proceedings held on September 2, 2021
                                        before Judge Ryan T. Holte. Total No. of Pages: 1-44.For parties in the
                                        case only, to order a copy of the transcript, click HERE. (ew) (Entered:
                                        09/10/2021)
           09/15/2021               222 Fourth AMENDED COMPLAINT against USA, filed by GIESECKE &
                                        DEVRIENT GMBH. , filed by GIESECKE & DEVRIENT
                                        GMBH.Answer due by 10/15/2021. (Attachments: # 1 Exhibit A, # 2
                                        Exhibit B)(Flaim, John) Modified on 09/27/2021 to correct Answer due
                                        date per 213 (tb). (Entered: 09/15/2021)
           09/28/2021               223 ORDER Setting Oral Argument on attorneys' fees for 10/29/2021 at
                                        8:30 AM CDT in the Eastern District of Texas before Judge Ryan T.
                                        Holte. Signed by Judge Ryan T. Holte. (rnb) Service on parties made.
                                        (Entered: 09/28/2021)
           10/01/2021               224 Joint MOTION for Protective Order Joint Motion for Entry of Disputed
                                        Protective Order, filed by GIESECKE & DEVRIENT GMBH.Response
                                        due by 10/15/2021. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Flaim,
                                        John) (Entered: 10/01/2021)
           10/13/2021               225 SCHEDULING ORDER: Status Conference set for 11/3/21 4:00 PM in
                                        Chambers (Telephonic) before Judge Ryan T. Holte. Signed by Judge
                                        Ryan T. Holte. (mrm) Service on parties made. (Entered: 10/13/2021)
           10/15/2021               226 MOTION to Dismiss pursuant to Rule 12(b)(6) as to Count 2 , filed by
                                        CSRA, INC., GEMALTO, INC., IDEMIA IDENTITY & SECURITY
                                        USA, LLC, USA.Response due by 11/12/2021.(Souaya, Michel)
                                        Modified on 10/18/2021 to add as to Count 2 (tb). (Entered: 10/15/2021)
           10/15/2021               227 ANSWER to 222 Amended Complaint, , filed by USA.JPSR due by
                                        12/3/2021.(Souaya, Michel) (Entered: 10/15/2021)
           10/15/2021               228 ANSWER to Amended Complaint 222 , filed by CSRA, INC..JPSR due
                                        by 12/3/2021. (Hawkins, Holmes) Modified on 10/18/2021 to add link to
                                        pleading(tb). (Entered: 10/15/2021)
           10/15/2021               229 Idemia Identity & Security USA, LLC's ANSWER to Amended
                                        Complaint 222 , filed by IDEMIA IDENTITY & SECURITY USA,
                                        LLC.JPSR due by 12/3/2021. (Brophy, Richard) (Entered: 10/15/2021)
           10/15/2021               230 ANSWER to Amended Complaint 222 , filed by GEMALTO, INC..JPSR
                                        due by 12/3/2021. (Johnson, Edward) (Entered: 10/15/2021)
           10/25/2021               231 MOTION For Pro Hac Vice participation (Attorney: R. Benjamin
                                        Cassady. Is attorney admitted to her/his highest state court? Yes. Name of
                                        court: D.C. & Virginia. Date of hearing/conference: October 29, 2021.),


27 of 33                                                                                                            7/8/2022, 9:06 AM
CM/ECF Live System, USCFC, District Version NextGen 1.6.3             https://cofc-ecf.sso.dcn/cgi-bin/DktRpt.pl?129742961132609-L_1_0-1
                             Case: 22-2002         Document: 1-2     Page: 31       Filed: 07/12/2022

                                          filed by HID GLOBAL CORPORATION.(Lavenue, Lionel) (Entered:
                                          10/25/2021)
           10/25/2021               232 ORDER granting 231 MOTION For Pro Hac Vice participation
                                        (Attorney: R. Benjamin Cassady). Signed by Judge Ryan T. Holte. (rnb)
                                        Service on parties made. (Entered: 10/25/2021)
           10/28/2021               233 **STRICKEN** Pursuant to Order 235 dated 10/28/21. Joint
                                        MOTION to Substitute Party General Dynamics Information Technology,
                                        Inc. for Third Party Defendant CSRA, Inc. (Response due by
                                        11/12/2021.), Joint MOTION to Dismiss CRSA, Inc. (Response due by
                                        11/26/2021.), filed by CSRA, INC.. (Attachments: # 1 Text of Proposed
                                        Order)(Hawkins, Holmes) (Entered: 10/28/2021)
           10/28/2021               234 Corrected MOTION to Substitute Party General Dynamics Information
                                        Technology, Inc. for Third Party Defendant CSRA, Inc. (Response due by
                                        11/12/2021.), Joint MOTION to Dismiss CRSA, Inc. (Response due by
                                        11/26/2021.), filed by CSRA, INC.. (Attachments: # 1 Text of Proposed
                                        Order)(Hawkins, Holmes) (Entered: 10/28/2021)
           10/28/2021               235 ORDER: granting 234 Motion to Substitute Party; GENERAL
                                        DYNAMICS INFORMATION TECHNOLOGY, INC. added, CSRA,
                                        INC. terminated; null 234 Motion to Dismiss; striking 233 Motion to
                                        Substitute Party; striking 233 Motion to Dismiss. Signed by Judge Ryan
                                        T. Holte. (mrm) Service on parties made. (Entered: 10/28/2021)
           11/01/2021                     Minute Entry - Was the proceeding sealed to the public? A portion of the
                                          proceeding was sealed and a portion was unsealed. Proceeding held in
                                          Plano, TX on 10/29/2021 before Judge Ryan T. Holte: Oral Argument.
                                          [Total number of days of proceeding: 1] Approximate duration of
                                          proceeding: More than 3 hours. Official record of proceeding taken by
                                          court reporter. To order a certified transcript or an audio recording of the
                                          proceeding, click HERE.(rnb) (Entered: 11/01/2021)
           11/03/2021                     Minute Entry - Was the proceeding sealed to the public? No. Proceeding
                                          held in Washington, DC 11/3/2021 before Judge Ryan T. Holte: Status
                                          Conference. [Total number of days of proceeding: 1] Approximate
                                          duration of proceeding: 1 hour. Official record of proceeding taken via
                                          electronic digital recording (EDR). To order a certified transcript or an
                                          audio recording of the proceeding, click HERE.(mrm) (Entered:
                                          11/03/2021)
           11/04/2021               236 ORDER: Joint Status Report due by 11/15/2021; Amended Joint
                                        Motion for Entry of a Protective Order due by 11/16/2021. Signed by
                                        Judge Ryan T. Holte. (mrm) Service on parties made. (Entered:
                                        11/04/2021)
           11/05/2021               237 Notice of Filing of Certified Transcript for proceedings held on October
                                        29, 2021 in Washington, D.C. (ew) (Entered: 11/05/2021)




28 of 33                                                                                                              7/8/2022, 9:06 AM
CM/ECF Live System, USCFC, District Version NextGen 1.6.3           https://cofc-ecf.sso.dcn/cgi-bin/DktRpt.pl?129742961132609-L_1_0-1
                             Case: 22-2002         Document: 1-2   Page: 32       Filed: 07/12/2022

           11/05/2021               238 **SEALED**TRANSCRIPT of Proceedings held on October 29, 2021
                                        before Judge Ryan T. Holte. Total No. of Pages: 1-159.For parties in the
                                        case only, to order a copy of the transcript, click HERE. (ew) (Entered:
                                        11/05/2021)
           11/12/2021               239 RESPONSE to 226 MOTION to Dismiss pursuant to Rule 12(b)(6) , filed
                                        by GIESECKE & DEVRIENT GMBH.Reply due by 11/29/2021.
                                        (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Flaim, John)
                                        Modified on 11/15/2021 reply deadline. (ead). (Entered: 11/12/2021)
           11/15/2021               240 JOINT STATUS REPORT , filed by GIESECKE & DEVRIENT GMBH.
                                        (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D,
                                        # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H)(Flaim, John)
                                        (Entered: 11/15/2021)
           11/18/2021               241 Notice of Filing of Certified Transcript for proceedings held on
                                        November 3, 2021 in Washington, D.C. (ew) (Entered: 11/18/2021)
           11/18/2021               242 TRANSCRIPT of proceedings held on November 3, 2021 before Judge
                                        Ryan T. Holte. Total No. of Pages: 1-37. Procedures Re: Electronic
                                        Transcripts and Redactions. To order a copy of the transcript, click
                                        HERE. Notice of Intent to Redact due 11/29/2021. Redacted Transcript
                                        Deadline set for 12/16/2021. Release of Transcript Restriction set for
                                        2/13/2022. (ew) (Entered: 11/18/2021)
           11/19/2021               243 ORDER granting 224 Motion for Protective Order. Telephonic status
                                        conference set for 21 December 2021 at 2:30 p.m. (EST) before Judge
                                        Ryan Holte. Signed by Judge Ryan T. Holte. (mrm) Service on parties
                                        made. (Entered: 11/19/2021)
           11/19/2021               244 PROTECTIVE ORDER (related to 243 Order on Motion for Protective
                                        Order ). Signed by Judge Ryan T. Holte. (mrm) Service on parties made.
                                        (Entered: 11/19/2021)
           11/26/2021               245 REPLY to Response to Motion re 226 MOTION to Dismiss pursuant to
                                        Rule 12(b)(6) , filed by GEMALTO, INC., IDEMIA IDENTITY &
                                        SECURITY USA, LLC, USA. (Brophy, Richard) (Entered: 11/26/2021)
           12/14/2021               246 Unopposed MOTION to Dismiss Third-Party Defendant General
                                        Dynamics Information Technology, Inc., filed by GENERAL
                                        DYNAMICS INFORMATION TECHNOLOGY, INC..Response due by
                                        1/11/2022. (Attachments: # 1 Text of Proposed Order)(Hawkins, Holmes)
                                        (Entered: 12/14/2021)
           12/15/2021               247 ORDER granting 246 Motion to Dismiss Third-Party Defendant General
                                        Dynamics Information Technology, Inc. The Court directs the Clerk to
                                        DISMISS GDIT without prejudice. Signed by Judge Ryan T. Holte.
                                        (mrm) Service on parties made. (Entered: 12/15/2021)
           12/21/2021               248 MOTION For Pro Hac Vice participation (Attorney: Mackenzie M.
                                        Martin. Is attorney admitted to her/his highest state court? Yes. Name of
                                        court: The Supreme Court of Texas. Date of hearing/conference:


29 of 33                                                                                                            7/8/2022, 9:06 AM
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                             Case: 22-2002         Document: 1-2    Page: 33       Filed: 07/12/2022

                                          December 21, 2021.), filed by GIESECKE & DEVRIENT
                                          GMBH.(Flaim, John) (Entered: 12/21/2021)
           12/21/2021                     Minute Entry - Was the proceeding sealed to the public? No. Proceeding
                                          held in Washington, DC 12/21/2021 before Judge Ryan T. Holte: Status
                                          Conference. [Total number of days of proceeding: 1] Approximate
                                          duration of proceeding: 1 hour and 30 minutes. Official record of
                                          proceeding taken via electronic digital recording (EDR). To order a
                                          certified transcript or an audio recording of the proceeding, click
                                          HERE.(mrm) (Entered: 12/21/2021)
           12/22/2021               249 ORDER staying 226 Motion to Dismiss and granting 248 Motion for Pro
                                        Hac Vice Admission. Signed by Judge Ryan T. Holte. (mrm) Service on
                                        parties made. (Entered: 12/22/2021)
           01/07/2022               250 Notice of Filing of Certified Transcript for proceedings held on
                                        December 21, 2021 in Washington, D.C. (ew) (Entered: 01/07/2022)
           01/07/2022               251 TRANSCRIPT of proceedings held on December 21, 2021 before Judge
                                        Ryan T. Holte. Total No. of Pages: 1-28. Procedures Re: Electronic
                                        Transcripts and Redactions. To order a copy of the transcript, click
                                        HERE. Notice of Intent to Redact due 1/14/2022. Redacted Transcript
                                        Deadline set for 2/4/2022. Release of Transcript Restriction set for
                                        4/4/2022. (ew) (Entered: 01/07/2022)
           01/28/2022               252 MOTION for Status Conference , filed by USA.Response due by
                                        2/11/2022.(Souaya, Michel) (Entered: 01/28/2022)
           01/28/2022               253 ORDER granting 252 Motion for Status Conference. Status Conference
                                        set for 1/31/2022 at 4:30 PM in Chambers (Telephonic) before Judge
                                        Ryan T. Holte. Signed by Judge Ryan T. Holte. (mrm) Service on parties
                                        made. (Entered: 01/28/2022)
           01/31/2022               254 RESPONSE to 252 MOTION for Status Conference , filed by
                                        GIESECKE & DEVRIENT GMBH.Reply due by 2/7/2022.
                                        (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Flaim, John) (Entered:
                                        01/31/2022)
           01/31/2022                     Minute Entry - Was the proceeding sealed to the public? No. Proceeding
                                          held in Washington, DC 1/31/2022 before Judge Ryan T. Holte: Status
                                          Conference. [Total number of days of proceeding: 1] Approximate
                                          duration of proceeding: 30 minutes. Official record of proceeding taken
                                          via electronic digital recording (EDR). To order a certified transcript or
                                          an audio recording of the proceeding, click HERE.(mrm) (Entered:
                                          01/31/2022)
           02/04/2022               255 Joint MOTION to Amend Schedule re: 213 Scheduling Order,,,,,, filed by
                                        All Plaintiffs.Response due by 2/18/2022. (Attachments: # 1 Text of
                                        Proposed Order)(Flaim, John) (Entered: 02/04/2022)
           02/04/2022               256 ORDER granting 255 Motion to Amend Schedule. Supplemental
                                        Preliminary Invalidity Contentions due 2/11/22; Parties Exchange


30 of 33                                                                                                             7/8/2022, 9:06 AM
CM/ECF Live System, USCFC, District Version NextGen 1.6.3            https://cofc-ecf.sso.dcn/cgi-bin/DktRpt.pl?129742961132609-L_1_0-1
                             Case: 22-2002         Document: 1-2    Page: 34       Filed: 07/12/2022

                                          Constructions and Extrinsic Evidence by 2/18/22; Parties Meet and
                                          Confer for Narrowing Claim Terms by 2/25/22. Signed by Judge Ryan
                                          T. Holte. (mrm) Service on parties made. (Entered: 02/04/2022)
           02/23/2022               257 Notice of Filing of Certified Transcript for proceedings held on January
                                        31, 2020 in Washington, D.C. (ew) (Entered: 02/23/2022)
           02/23/2022               258 TRANSCRIPT of proceedings held on January 31, 2022 before Judge
                                        Ryan T. Holte. Total No. of Pages: 1-25. Procedures Re: Electronic
                                        Transcripts and Redactions. To order a copy of the transcript, click
                                        HERE. Notice of Intent to Redact due 3/2/2022. Redacted Transcript
                                        Deadline set for 3/23/2022. Release of Transcript Restriction set for
                                        5/23/2022. (ew) (Entered: 02/23/2022)
           02/23/2022               259 **ENTERED IN ERROR**. Notice of Filing of Certified Transcript for
                                        proceedings held on February 3, 2022 in Washington, D.C. (ew)
                                        Modified on 2/23/2022 (ew). (Entered: 02/23/2022)
           02/23/2022               260 **ENTERED IN ERROR** . TRANSCRIPT of proceedings held on
                                        February 3, 2022 before Judge David A. Tapp. Total No. of Pages:
                                        1-35. Procedures Re: Electronic Transcripts and Redactions. To
                                        order a copy of the transcript, click HERE. Notice of Intent to
                                        Redact due 3/2/2022. Redacted Transcript Deadline set for 3/23/2022.
                                        Release of Transcript Restriction set for 5/23/2022. (ew) Modified on
                                        2/23/2022 (ew). Modified on 2/23/2022 (ew). (Entered: 02/23/2022)
           03/04/2022               261 NOTICE, filed by GIESECKE & DEVRIENT GMBH Joint Claim
                                        Construction Chart Under PRCFC 11. (Flaim, John) (Entered:
                                        03/04/2022)
           04/01/2022               262 NOTICE, filed by GEMALTO, INC., IDEMIA IDENTITY &
                                        SECURITY USA, LLC, USA Defendant the United States of America's
                                        and Third-Party Intervenors Gemalto, Inc.'s and Idemia Identity &
                                        Security USA, LLC's Opening Claim Construction Brief. (Attachments: #
                                        1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6
                                        Exhibit 6, # 7 Exhibit 7, # 8 Declaration of Daniel W. Engels, Ph.D.)
                                        (Brophy, Richard) (Entered: 04/01/2022)
           05/12/2022               263 MOTION for voluntary dismissal with prejudice, filed by GIESECKE &
                                        DEVRIENT GMBH and GEMALTO, INC. (Attachments: # 1 Text of
                                        Proposed Order)(Flaim, John) Modified on 5/12/2022 to correct the event
                                        type. (dls). (Entered: 05/12/2022)
           05/13/2022               264 NOTICE, filed by GIESECKE & DEVRIENT GMBH Plaintiff's
                                        Responsive Claim Construction Brief. (Attachments: # 1 Declaration of
                                        Gabriel Robins, Ph.D. in Support of Plaintiff's Responsive Claim
                                        Construction Brief)(Flaim, John) (Entered: 05/13/2022)
           05/13/2022               265 NOTICE, filed by GIESECKE & DEVRIENT GMBH Plaintiff's Claim
                                        Construction Appendix. (Attachments: # 1 Declaration of Mackenzie M.
                                        Martin in Support of Plaintiff's Claim Construction Appendix, # 2 Exhibit
                                        1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6,


31 of 33                                                                                                             7/8/2022, 9:06 AM
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                             Case: 22-2002         Document: 1-2    Page: 35       Filed: 07/12/2022

                                          # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9)(Flaim, John) (Entered:
                                          05/13/2022)
           05/13/2022               266 NOTICE, filed by GIESECKE & DEVRIENT GMBH Joint Claim
                                        Construction Appendix. (Attachments: # 1 Declaration of Mackenzie M.
                                        Martin in Support of Joint Claim Construction Appendix, # 2 Exhibit 1, #
                                        3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4 Part 1, # 6 Exhibit 4 Part 2, # 7
                                        Exhibit 4 Part 3, # 8 Exhibit 4 Part 4, # 9 Exhibit 5, # 10 Exhibit 6 Part 1,
                                        # 11 Exhibit 6 Part 2, # 12 Exhibit 6 Part 3)(Flaim, John) (Entered:
                                        05/13/2022)
           05/17/2022               267 RESPONSE to 263 MOTION to Voluntarily Dismiss pursuant to Rule
                                        41(a) , filed by USA.Reply due by 6/3/2022. (Souaya, Michel) Modified
                                        on 5/18/2022 to revise reply due date pursuant to 268 (tb). (Entered:
                                        05/17/2022)
           05/17/2022               268 ORDER: Meet and Confer due by 5/20/2022; Joint Status Report due
                                        by 5/24/2022 at 4:00 PM; government's 267 motion for leave
                                        GRANTED; updated response, if any, due by 5/27/2022; replies, if
                                        any, due by 6/3/2022. Signed by Judge Ryan T. Holte. (mrm) Service on
                                        parties made. (Entered: 05/17/2022)
           05/23/2022               269 NOTICE, filed by IDEMIA IDENTITY & SECURITY USA, LLC, USA
                                        re 264 Notice (Other) Defendants' Reply to Plaintiff's Responsive Claim
                                        Construction Brief. (Attachments: # 1 Exhibit 1, # 2 Affidavit of Daniel
                                        W. Engels, PhD.)(Brophy, Richard) (Entered: 05/23/2022)
           05/24/2022               270 JOINT STATUS REPORT , filed by USA. (Souaya, Michel) (Entered:
                                        05/24/2022)
           05/27/2022               271 RESPONSE to 263 MOTION to Voluntarily Dismiss pursuant to Rule
                                        41(a) UPDATED RESPONSE, filed by USA.Reply due by 6/3/2022.
                                        (Souaya, Michel) (Entered: 05/27/2022)
           05/27/2022               272 MOTION For Pro Hac Vice participation (Attorney: Kyle G. Gottuso. Is
                                        attorney admitted to her/his highest state court? Yes. Name of court:
                                        Supreme Court of the State of Missouri. Date of hearing/conference:
                                        TBD.), filed by IDEMIA IDENTITY & SECURITY USA, LLC.(Brophy,
                                        Richard) (Entered: 05/27/2022)
           05/27/2022               273 MOTION For Pro Hac Vice participation (Attorney: Marc W. Vander
                                        Tuig. Is attorney admitted to her/his highest state court? Yes. Name of
                                        court: Supreme Court of the State of Missouri. Date of
                                        hearing/conference: TBD.), filed by IDEMIA IDENTITY & SECURITY
                                        USA, LLC.(Brophy, Richard) (Entered: 05/27/2022)
           05/27/2022                     Non-PDF ORDER: 272 273 Motions for Pro Hac Vice Admission are
                                          GRANTED. Signed by Judge Ryan T. Holte. (mrm) Service on parties
                                          made. (Entered: 05/27/2022)
           05/31/2022               274 NOTICE, filed by GIESECKE & DEVRIENT GMBH Plaintiff's Sur-
                                        Reply Claim Construction Brief. (Attachments: # 1 Rebuttal Declaration


32 of 33                                                                                                             7/8/2022, 9:06 AM
CM/ECF Live System, USCFC, District Version NextGen 1.6.3           https://cofc-ecf.sso.dcn/cgi-bin/DktRpt.pl?129742961132609-L_1_0-1
                             Case: 22-2002         Document: 1-2   Page: 36       Filed: 07/12/2022

                                          of Gabriel Robins, Ph.D. in Support of Plaintiff's Sur-Reply Claim
                                          Construction Brief)(Flaim, John) (Entered: 05/31/2022)
           05/31/2022               275 NOTICE, filed by GIESECKE & DEVRIENT GMBH Supplement to
                                        Plaintiff's Claim Construction Appendix. (Attachments: # 1 Declaration
                                        of Mackenzie M. Martin in Support of Supplement to Plaintiff's Claim
                                        Construction Appendix, # 2 Exhibit 10, # 3 Exhibit 11)(Flaim, John)
                                        (Entered: 05/31/2022)
           06/02/2022               276 NOTICE, filed by GIESECKE & DEVRIENT GMBH Joint Claim
                                        Construction Appendix and Prehearing Statement. (Attachments: # 1
                                        Exhibit A)(Flaim, John) (Entered: 06/02/2022)
           06/02/2022               277 MOTION to Seal Document , filed by GIESECKE & DEVRIENT
                                        GMBH.Response due by 6/16/2022.(Flaim, John) (Entered: 06/02/2022)
           06/02/2022               278 ORDER granting 277 Motion for leave to file under seal. Signed by
                                        Judge Ryan T. Holte. (mrm) Service on parties made. (Entered:
                                        06/02/2022)
           06/03/2022               279 **SEALED**REPLY to Response to Motion re 263 MOTION to
                                        Voluntarily Dismiss pursuant to Rule 41(a) , filed by GEMALTO, INC.,
                                        GIESECKE & DEVRIENT GMBH. (Attachments: # 1 Exhibit A, # 2
                                        Exhibit B)(Flaim, John) (Entered: 06/03/2022)
           06/06/2022               280 REDACTED DOCUMENT redacting 279 Reply to Response to Motion,,
                                        filed by GEMALTO, INC., GIESECKE & DEVRIENT GMBH. (Flaim,
                                        John) (Entered: 06/06/2022)
           06/06/2022               281 **SEALED**OPINION: Denying remainder of HID's 63 Motion for
                                        attorneys' fees and costs and supplemental briefing 177 and 184 ; denying
                                        as moot HID's 140 Motion for quantum of attorney's fees and costs;
                                        terminating HID's status as an interested party. Signed by Judge Ryan T.
                                        Holte. (rnb) Copy to parties. (Entered: 06/06/2022)
           06/10/2022               282 REPORTED OPINION AND ORDER. Unsealed public version of 281
                                        SEALED OPINION denying remainder of HID's 63 Motion for attorneys'
                                        fees and costs and supplemental briefing 177 and 184 ; denying as moot
                                        HID's 140 Motion for quantum of attorney's fees and costs; terminating
                                        HID's status as an interested party. Signed by Judge Ryan T. Holte. (rnb)
                                        Service on parties made. (Entered: 06/10/2022)
           06/15/2022               283 SCHEDULING ORDER: Markman Hearing set for 7/20/2022 at 10:00
                                        AM (EDT) at the National Courts Building before Judge Ryan T.
                                        Holte. Signed by Judge Ryan T. Holte. (mrm) Service on parties made.
                                        (Entered: 06/15/2022)
           07/07/2022               284 NOTICE OF APPEAL as to 168 Order on Motion for Attorney Fees,
                                        Sealed Opinion/Order, filed by HID GLOBAL CORPORATION. Filing
                                        fee $ 505, receipt number AUSFCC-8014374. Copy to CAFC. (Lavenue,
                                        Lionel) (Entered: 07/07/2022)




33 of 33                                                                                                            7/8/2022, 9:06 AM
              Case: 22-2002     Document: 1-2      Page: 37     Filed: 07/12/2022




              In the United States Court of Federal Claims
                 United States Court of Appeals for the Federal Circuit
                               Appeal Information Sheet


Plaintiff(s): GIESECKE & DEVRIENT GMBH

Intervenor(s): GEMALTO, INC.

Docket No.: 17-1812

,ssXiQJ Judge:    Judge Ryan T. Holte

Nature of Suit: 508

Type of CasH Patent

See docket sheet for counsel representation information

Cross or Related?

Appellant(s): HID GLOBAL CORP (Noticed Nonparty)

Date Judgment EntereG

Date of Appeal: 7/7/2022

Fee StatuV

     Paid – Receipt Number:

     IFP            IFP for limited purposes

     IFP status revoked pursuant to 28 U.S.C. § 1915(a)(3) (“An appeal may not be taken in
     forma pauperis if the trial court certifies in writing that it is not taken in good faith.”)

Additional Information:

 receipt number AUSFCC-8014374




                                                                                Updated April 202
